  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11      Page 1 of 55 PageID 1318


                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

A. CORNELL BLANKS                      '
                                       '
       Plaintiff,                      '
                                       '
       v.                              ' CA No. 4-10-cv-297-Y
                                       '
UNITED AEROSPACE WORKERS               '
LOCAL 848, JAMES RUSSELL STROWD,       '
WENDELL HELMS, and ROMEO MUNOZ         '
                                       '
       Defendants.                     '



            DEFENDANTS= MEMORANDUM BRIEF IN SUPPORT OF RESPONSE TO
                  PLAINTIFF’S (MOTION FOR) SUMMARY JUDGMENT




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                                    ROMEO MUNOZ


Dated: June 21, 2011
      Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                                                    Page 2 of 55 PageID 1319




                                                           TABLE OF CONTENTS

Table of Authorities ..................................................................................................................................... iv
INTRODUCTION ........................................................................................................................................ 1
ARGUMENT............................................................................................................................................... 1

I.         THE LEGAL DOCTRINE OF COLLATERAL ESTOPPEL PREVENTS BLANKS FROM
           ESTABLISHING A REQUIRED ELEMENT OF HIS ONLY REAL ALLEGED CLAIM IN
           THIS LAWSUIT AND DEFEATS HIS MOTION AS A MATTER OF LAW .......................... 2

II.        AS A MATTER OF LAW, BLANKS CANNOT OBTAIN SUMMARY JDUGMENT ON
           ANY OF HIS ALLEGED CLAIMS AND HIS MOTION MUST BE DENIED......................... 5

           A.          Blanks is unable to establish any undisputed material facts that would support his
                       alleged claims ..................................................................................................................... 5

           B.          The “Facts” Blanks set forth in Section 5 of his Motion (doc. 69, PageID 1052-53)
                       affirmatively precludes every alleged claims against every Defendant as identified by
                       Blanks, except his alleged DFR claim against Defendant Local 848. .............................. 7

           C.          Even assuming, arguendo, that each of Blanks’ alleged claims, except his
                       alleged DFR claims against Defendant Local 848, is not otherwise preempted
                       or barred, blanks fails to conclusively prove each element of each claim and
                       cannot demonstrate his entitlement to judgment as to any of these alleged
                       claims.................................................................................................................................. 9

                       (1)          “Breach of the Unions Fiducuary Duties” [sic] .................................................. 9

                       (2)         “Violation of the Collective Bargains Agreement Article V” [sic] ..................... 9

                       (3)         “Unfair Labor Practices Claim” ........................................................................ 10

                       (4)         “Discrimination” ................................................................................................. 10

                       (5)         “Contract Fraud” ............................................................................................... 11

                       (6)         “Contract Violation of the labor Code 305” [sic]............................................... 11

                       (7)         “Collective Bargaining Agreement (CBA), fiduciary duty” .............................. 11

                       (8)         “Malpractice” ..................................................................................................... 11

                       (9)         “Breach of Contract” ......................................................................................... 12

                       (10)        “Breach of Employment Contract” ................................................................... 12
 MEMORANDUM BRIEF IN SUPPORT OF RESPONSE TO PLAINTIFF’S (MOTION FOR) FOR SUMMARY JUDGMENT (doc. 69)                                                     Page ii
    Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                                                    Page 3 of 55 PageID 1320


                      (11)        “Negligence” ..................................................................................................... 12

                      (12)        “Fraud” ................................................................................................................ 12

                      (13)        “Damages” ........................................................................................................... 13

           D.         Blanks is unable to conclusively prove each element of his alleged DFR claims against
                      Defendant Local 848 and nor can he establish his entitlement to judgment as a matter of
                      law as this alleged claim .................................................................................................. 13

                      (1)         No admissible summary judgment evidence supports Blanks’ allegations that
                                  Local 848 had a discriminatory or hostile motive towards him while processing
                                  his grievance ........................................................................................................ 14

                      (2)         No admissible summary judgment evidence supports Blanks’ allegations that
                                  Local 848’s conduct in the processing of his grievance was negligent dishonest
                                  or perfunctory ...................................................................................................... 16

                      (3)         As a matter of fact and as a matter of law, Local 848 timely processed Blanks’
                                  grievance in complete conformance with the CBA............................................ 18

                      (4)         As a matter of fact, Blanks’ grievance was not meritorious and, even if it were,
                                  as a matter of law, Local 848 did not violate its DFR to Blanks by not
                                  submitting his grievance to arbitration ............................................................... 20

                      (5)         No summary judgment evidence supports Blanks’ allegation that Helms and
                                  Strowd have a track record of not taking grievances to arbitration nor does
                                  Blanks present any legal authority that the union’s arbitration track record
                                  entitles him to judgment as a matter of law ........................................................ 22

III.       ALTERNATIVELY, DEFENDANTS’ EVIDENCE CONCLUSIVELY ESTABLISHES
           MATERIAL FACTS THAT AFFIRMATIVELY DEFEAT BLANKS’ ALLEGED CLAIM
           AND, THUS, HIS MOTION MUST BE DENIED ..................................................................... 23

           A.         Undisputed material facts that affirmative and conclusively preclude summary
                      judgment in favor of Blanks... ......................................................................................... 24

           B.         Blanks is unable to establish any undisputed material facts that would support his
                      alleged claims ................................................................................................................... 44

CONCLUSION ......................................................................................................................................... 49




 MEMORANDUM BRIEF IN SUPPORT OF RESPONSE TO PLAINTIFF’S (MOTION FOR) FOR SUMMARY JUDGMENT (doc. 69)                                                 Page iii
    Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                                              Page 4 of 55 PageID 1321


                                                     TABLE OF AUTHORITIES


A. Cornell Blanks v. Vought Aircraft Industries, Inc.,
2010 WL 4315530 (N.D. Tex) .................................................................................................................... 4

A. Cornell Blanks v. Vought Aircraft Industries, Inc.,
2010 WL 4321580 (N.D. Tex) .................................................................................................................... 4

ALPA v. O=Neil, 499 U.S. 65, 67 (1991) ............................................................................. 13, 14, 21, 48, 49

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986) ..................................................................... 1

Anjelino v. New York Times Co., 200 F.3d 73, 95-96 (3d Cir. 1999) ............................................... 10, 15

Barker v. Norman, 651 F.2d 1107, 1123 (5th Cir.1981) .................................................................... 14, 15

Boeing v. Shipman, 411F.2d 365 (5th Cir.1969) (en banc) ............................................................. 2, 49

Bowen v USPS, 459 U.S. 212, 213 (1983) ................................................................................................13

Carter v. Chrysler Corp., 173 F.3d 693, 703-04 (8th Cir. 1999).............................................................. 15

Celotex v Catrett, 477 U.S. 317, 323 (1986) .............................................................................................. 2

DelCostello v. IBT, 462 U.S. 151 (1983) ...................................................................................................3, 4

EEOC v. Agro Distribution, LLC, 555 F.3d 462, 469 (5th Cir. 2009) ...................................................... 1

Ellis v. Principi, 246 F. App’x 867, 869 (5th Cir.2007) ............................................................................. 2

Ford v. Huffman, 345 U.S. 330, 338 (1953) ........................................................................... 13, 14, 21, 48

Forsyth v. Barr, 19 F.3d 1527, 1537 (5th Cir. 1994) .................................................................................. 2

Goodman v. Lukens Steel Co., 482 U.S. 656, 667-69, 107 S.Ct. 2617, 2624-25,
  96 L.Ed.2d 572 (1987) ......................................................................................................................... 15

Grant v. Cuellar, 59 F.3d 523, 524 (5th Cir. 1995) .................................................................................... 2

Hines v. Anchor Motor Freight, Inc., 424 U.S. 564, 570-71 (1976) .......................................................... 4

Landry v. The Cooper/T. Smith Stevedoring Co., 880 F.2d 846, 852 (5th Cir.1989) .............................. 9

Larry v. White, 929 F.2d 206, 211 n.12 (5th Cir. 1991) ............................................................................ 7

Laughlin Prods., Inc. v. ETS, Inc., 257 F.Supp.2d 863, 866 (N.D. Tex. 2002) ........................................ 1

Lavespere v. Niagara Mach. & Tool Works, Inc., 910 F.2d 167, 178 (5th Cir. 1990) ............................. 1

 MEMORANDUM BRIEF IN SUPPORT OF RESPONSE TO PLAINTIFF’S (MOTION FOR) FOR SUMMARY JUDGMENT (doc. 69)                                         Page iv
    Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                                                 Page 5 of 55 PageID 1322




Local 12, United Rubber Workers, 150 N.L.R.B. 312, enf=d, 368 F.2d 12 (5th Cir.1966) ..................... 10

McCall v. Southwest Airlines, Co., 2010 WL 3119388 (N.D. Tex) .................................................. 3, 4, 5

McCall v. Southwest Airlines Co., 661 F.Supp.2d 647, 654 (N.D.Tex. 2009) ................. 9, 12, 13, 14, 49

Miranda Fuel Co., 140 N.L.R.B. 181 (1962) ............................................................................................ 10

Neely v Delta Brick & Tile Co., 817 F.2d 1224, 1225 (5th Cir. 1987) ........................................... 2, 49

Newell v. Oxford Mgmt. Inc., 912 F.2d 793, 795 (5th Cir. 1990) ............................................................. 1

Ondova Ltd. Co. v. Manila Industries, Inc., 513 F.Supp.2d 762, 770-71 (N.D.Tex. 2007)...................... 4

O'Neill v. ALPA, 939 F.2d 1199, 1203, (5th Cir. 1991) .................................................... 13, 14, 21, 49

RecoverEdge L.P. v. Pentecost, 44 F.3d 1284, 1290 (5th Cir.1995) ......................................................... 4

San Diego Bldg. Trades Counsel v. Garmon, 359 U.S. 236 (1959) ........................................................ 10

Skotak v. Tenneco Resins, Inc., 953 F.2d 909, 915-16 & n.7 (5th Cir. 1992) .......................................... 2

Steelworkers v. Warrior & Gulf Navigation Co., 363 U.S. 574, 579-81 (1960) ..................................... 20

Thomas v. LTV Corp., 39 F.3d 611 (5 th Cir. 1994).................................................................................... 3

Thorn v. Amalgamated Transit Union, 305 F.3d 826, 832-33 (8th Cir. 2002) ................................. 10, 15

United Parcel Service, Inc. v. Mitchell, 451 U.S. 56, 66-67 (1981) .......................................................... 4

Vaca v. Sipes, 386 U.S. 171, 87 S.Ct. 903, 916-18 (1967) .......................................... 8, 10, 13, 14, 21, 49

Yarde v.Good Samaritan Hosp., 360 F.Supp.2d 552, 566 (S.D.N.Y. 2005) ..................................... 10, 15



STATUTES:
42 U.S.C. '1981(a) .............................................................................................................................. 10, 15
Texas Commission on Human Rights Act, Tex. Lab. Code Ann. ' 21.001 et seq.................................. 10
Title VII of the Civil Rights Act of 1964, 42 U.S.C. ' 2000e, et seq. .................................................... 10


RULES:
 Federal Rule of Civil Procedure 56............................................................................................. 1, 2, 5, 14



 MEMORANDUM BRIEF IN SUPPORT OF RESPONSE TO PLAINTIFF’S (MOTION FOR) FOR SUMMARY JUDGMENT (doc. 69)                                             Page v
      Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                               Page 6 of 55 PageID 1323


           Defendants United Aerospace Workers Local 848 of the United Automobile, Aerospace &

Agricultural Implement Workers of America (ALocal 848"), James Russell Strowd, Wendell Helms, and

Romeo Munoz (collectively ADefendants@), file this, their Memorandum Brief in Support of Response to

Plaintiff’s (Motion for) Summary Judgment (doc.69) and show the Court as follows:

                                                    INTRODUCTION

           Blanks moves for summary judgment on a laundry list of alleged claims in this lawsuit. Blanks

asserts that there are no material fact disputes and that he is entitled to judgment against Defendants on

at least fourteen alleged claims. (doc. 69, PageID 1053-54). As will be fully demonstrated below,

Blanks’ summary judgment motion (“Motion”) is completely devoid of evidentiary support, does not

rest on any grounds that could establish any cognizable legal claims as a matter of law and, thus, should

be denied in its entirety. As required by the Court in summary judgment responses, Defendants agree

that the live pleadings of the parties are "Plaintiffs Original Complaint" (doc. 1), filed April 28, 2010;

and "Defendants= Original Answer to Plaintiff's Complaint" (doc. 11), filed June 18, 2010.

                                                        ARGUMENT

           Summary judgment is only appropriate when the record establishes "that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law." FRCP 56(a)

(Before December 1, 2010, nearly identical language appeared in FRCP. 56(c)(2)); EEOC v. Agro

Distr., LLC, 555 F.3d 462, 469 (5th Cir. 2009). An issue is considered "genuine" if "it is real and

substantial as opposed to merely formal, pretended, or a sham." Laughlin Prods., Inc. v. ETS, Inc., 257

F.Supp.2d 863, 866 (N.D. Tex. 2002). Facts are considered "material" if they "might affect the outcome

of the suit under governing law." Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The Court

first consults the applicable substantive law to ascertain what factual issues are truly material. Lavespere

v. Niagara Mach. & Tool Works, Inc., 910 F.2d 167, 178 (5th Cir. 1990). Next, the Court reviews the

evidence on those issues. Id.; Newell v. Oxford Mgmt. Inc., 912 F.2d 793, 795 (5th Cir. 1990). 1


 1
     However, Rule 56 "does not impose on the district court a duty to sift through the record in search of evidence to

Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 1
     Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                              Page 7 of 55 PageID 1324


         Where a party bears the burden of persuasion at trial and fails to make a showing sufficient to

establish the existence of an element essential to his case, there is “a complete failure of proof” and that

party cannot obtain summary judgment. See Celotex v Catrett, 477 U.S. 317, 323 (1986). “If the moving

party will bear the burden of persuasion at trial, that party must support its motion with credible

evidence--using any of the materials specified in Rule 56(c)--that would entitle it to a directed verdict if

not controverted at trial.” Id. at 331 (Brennan, J., dissenting).

         Because Blanks has the burden of persuasion at trial with respect to every alleged claim upon

which he moves for summary judgment in his Motion, he has the burden of presenting evidence that

would be sufficient to support a directed verdict in his favor if not refuted at trial. Boeing v. Shipman,

411F.2d 365 (5th Cir.1969) (en banc); Neely v Delta Brick & Tile Co., 817 F.2d 1224, 1225 (5th Cir.

1987) (“Boeing assumes that some evidence may exist to support a position which is yet so

overwhelmed by contrary proof as to yield to a directed verdict; it is not necessary that the evidence

be no more than a scintilla or amount to a claim that frogs fly or stones levitate.”). As will be shown

herein, Blanks cannot meet this test and, thus, his Motion must fail. 2

I.       THE LEGAL DOCTRINE OF COLLATERAL ESTOPPEL PREVENTS BLANKS
         FROM ESTABLISHING A REQUIRED ELEMENT OF HIS ONLY REAL ALLEGED
         CLAIM IN THIS LAWSUIT AND DEFEATS HIS MOTION AS A MATTER OF LAW.

         In the “Facts” section of his Motion (doc. 69 PageID 1052-53), Blanks finally owns up to what

Defendants have asserted from the start of this litigation: his alleged claims in this lawsuit, if any, arise

solely out of Defendants’ processing of his grievance under the CBA. Specifically, Blanks complains of

what he identifies as three basic wrongs that are at the crux of his lawsuit: (1) Defendants breached their

DFR to him by “mishandling” his grievance, (2) Defendant Local 848 violated the CBA by entering into


 support" a party's motion for, or opposition to, summary judgment. Skotak v. Tenneco Resins, Inc., 953 F.2d 909, 915-16
 & n.7 (5th Cir. 1992). Thus, parties should "identify specific evidence in the record, and . . . articulate" precisely how
 that evidence supports their claims. Forsyth v. Barr, 19 F.3d 1527, 1536 (5th Cir. 1994).

2 Blanks makes much of the fact that he is proceeding pro se. (doc. 69 PageID 1051-52). However, Blanks’s pro se status
does not free him from the strictures of Fed.R.Civ.P., Rule 56 nor does it ease his burden on summary judgment in any way.
Ellis v. Principi, 246 F. App’x 867, 869 (5th Cir. 2007) (“[P]laintiff’s pro se status does not exempt her from the usual
evidentiary requirements of summary judgment” citing Grant v. Cuellar, 59 F.3d 523, 524 (5th Cir. 1995)).

Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 2
   Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                                Page 8 of 55 PageID 1325


a “private bargaining relationship” with Vought to set aside his grievance, and (3) Defendant Local 848

failed “in a negligent manner” to provide him with a “satisfactory opportunity to vindicate his rights,

pursuant to the contracted CBA.” (doc. 69, PageID 1052-53). These “Facts” point inexorably to one

conclusion: Blanks’ only cognizable legal claim in this lawsuit, if any, is against Defendant Local 848

for breach of the DFR as it relates to the union’s handling of his grievance under the CBA. 3

         Given this, Blanks’ alleged DFR claim is unquestionably subject to the classic “hybrid”

employer breach of contract/union breach of the DFR action legal analysis. See Thomas v. LTV Corp.,

39 F.3d 611, 621-22 (5th Cir. 1994). This analytical framework controls whenever a plaintiff’s alleged

claims against a union all arise out of his contention that the union mishandled his grievance in violation

of the CBA. Id. That is exactly what Blanks alleges here.

         Under the “hybrid” employer breach of contract/union breach of the DFR action analysis, an

employee must prove two separate but inextricably intertwined causes of action: (1) the employer

breached the CBA by (as is the case here) discharging him without just cause and (2) the union breached

its DFR to him by mishandling his subsequent grievance under the CBA. Thomas, 39 F.3d at 621;

DelCostello v. IBT, 462 U.S. 151, 164-65 (1983); McCall v. Southwest Airlines, Co., 3-08-CV-2000-M,

U.S. Dist Ct. N.D. Tx.) (J. Lynn) (Order dated August 10, 2010, doc.91), reported at 2010 WL 3119388

(N.D. Tex). The employee is free to prove his “hybrid” case via separate lawsuits against the company

and the union or via a single lawsuit against one or the other. Thomas, 39 F.3d at 621 (“[i]f the

employee so chooses, [he] may sue one defendant and not the other, but the case to be proved is the

same whether one or both are sued...” [emphasis added]).

         Under either scenario, the employee’s burden is the same: “[u]nless the employee proves both

claims, [breach of the CBA and breach of the DFR,] neither the claim against the employer nor the

claim against the union can stand.” [emphasis added]. McCall, 2010 WL 3119388, at *2 (citing


3 Thus, for all of the reasons set forth in Sections I.A, I.B, and II of Defendants’ Memorandum Brief in Support of Motion
to Dismiss and/or For Summary Judgment (doc. 60, PageID 570-73, 581-592), which is fully incorporated herein by
reference, each of the alleged claims identified by Blanks in his Motion, except for his alleged DFR claim against Defendant
Local 848 only, are preempted and/or barred as a matter of law.

Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 3
   Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                                   Page 9 of 55 PageID 1326


DelCostello , 452 U.S. at 164-65; UPS v. Mitchell, 451 U.S. 56, 66-67 (1981); and Hines v. Anchor

Motor Freight, Inc., 424 U.S. 564, 570-71 (1976)). Where a court finds that the employer “did not breach

the collective bargaining agreement by terminating” the employee, and that the employer was “entitled to

summary judgment on [the employee’s] claim for breach of the collective bargaining agreement,” the

union was also entitled to “Summary Judgment on [the employee’s] claim for breach of the duty of fair

representation, without reaching the merits of that claim.” Id. [emphasis added]. McCall, 2010 WL

3119388, at *2.

         Blanks has chosen the path of filing separate lawsuits—initially against Vought alleging breach

of the CBA 4 and then this instant lawsuit against Local 848 alleging breach of the DFR. In the Vought

lawsuit, the court, in granting summary judgment to the employer, found that “Blanks also claims

breach of contract arising out of his union’s collective bargaining agreement” and that he was

attempting to assert an alleged claim under Section 301 of the Labor Relations Management Act.

(Blanks v. Vought, Civ.No. 3:09-CV-695-K, doc. 127 PageID 2125-26). The court then granted Vought

summary judgment on Blanks’ “claim for breach of contract.” (Id.). Blanks is now collaterally estopped

from re-litigating this issue here. 5 Thus, as a matter of law, Blanks cannot establish the requisite breach

of contract claim against Vought element of his “hybrid” DFR claim.

         This is the situation found in the McCall case. Like in McCall, 2010 WL 3119388, at *2, as a

matter of law, Blanks cannot prove (because he is collaterally estopped from doing so) an essential


4 See case file in Blanks v. Vought, (Civil Action No. 3:09-CV-695-K, U.S. Dist. Ct. N.D. Tex.):
“Judgment” (doc. 131) and “Order Accepting The Findings, Conclusions, and Recommendation of the United States
Magistrate” (doc. 130), reported at 2010 WL 4321580 (N.D. Tex), both entered on October 26, 2010, and the
“Findings, Conclusions, and Recommendation of the United States Magistrate” (doc. 127), reported at 2010 WL
4315530 (N.D. Tex), entered on October 12, 2010. That decision is now pending appeal to the Fifth Circuit. Blanks v
Vought, No 10-111103.

5 Collateral estoppel applies to preclude Blanks from re-litigating here the issue as to whether Vought
violated the collective bargaining agreement by discharging him because, as evident from a review of the
Magistrate’s Order in Blanks v. Vought, 2010 WL 4315530, at *5, accepted by the District Court, 2010 WL
4321580 at *1, (1) that issue is identical to the one involved in his prior action against Vought; (2) that issue was
actually litigated in the prior action; and (3) the determination of that issue – adverse to Blanks – in the prior action
was a necessary part of the judgment in the prior action. Ondova Ltd. Co. v. Manila Industries, Inc., 513 F.Supp.2d
762, 770-71 (N.D.Tex. 2007) (citing RecoverEdge L.P. v. Pentecost, 44 F.3d 1284, 1290 (5th Cir.1995); and In re
Davis, 3 F.3d 113, 114 (5th Cir.1993)).

Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 4
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                          Page 10 of 55 PageID 1327


element of his “hybrid” breach of the DFR claim against Local 848: the employer’s breach of the CBA.

Therefore, like the union in McCall, here Local 848, and all Defendants, are entitled to summary

judgment in their favor on Blanks’ claim that the Defendants violated the DFR by mishandling his

grievance; the Court need not reach the merits of the DFR claim. Id. This inescapable result forecloses

any possibility that Blanks could obtain summary judgment against Defendants. As such, Blanks’

Motion must be denied in its entirety.

II.     AS A MATTER OF LAW, BLANKS CANNOT OBTAIN SUMMARY JUDGMENT ON
        ANY OF HIS ALLEGED CLAIMS AND HIS MOTION MUST BE DENIED.

        In the event that the Court reaches the merits of Blanks’ Motion, for the reasons that follow, as a

matter of law Blanks is unable to establish his entitlement to judgment as to any of his alleged claims:

        A.       Blanks is unable to establish any undisputed material facts that would support his
                 alleged claims.

        The sole evidentiary sources for the alleged facts upon which Blanks bases his Motion are his

Declaration attached to the end of his Motion (doc. 69, PageID 1085-89) and an “Appendixs” [sic] (doc.

68). As fully set forth in Defendants’ concomitantly filed Motion to Strike Plaintiff’s Summary

Judgment Evidence and Brief in Support (which Motion to Strike is fully incorporated herein by

reference), Blanks’ Declaration and “Appendixs” evidence fails to meet the requirements of

Fed.R.Civ.P., Rules 56(c)(2) & (4). Thus, they cannot form the evidentiary basis necessary for Blanks to

prove the elements of each of his alleged claims nor establish the absence of genuine issues of material

fact as to each claim. Without this evidentiary basis, as a matter of law, Blanks cannot obtain summary

judgment on any of his claims as he presents no other evidentiary sources in support of his claims.

        In their concomitantly filed Motion to Strike Plaintiff’s Summary Judgment Evidence and Brief

in Support, Defendants have moved to strike Blanks’ Declaration in its entirety and most of the

documents that Blanks includes in his “Appendixs.” The fact that Defendants have not moved to strike

certain of the “Appendixs” documents is not a concession that those documents support his Motion.

        More specifically, Defendants did not move to strike the following documents Blanks included


Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 5
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                          Page 11 of 55 PageID 1328


in his “Appendixs”: Nos. 2, 8-15, 18-20, 23. (doc. 68 PageID 989-90, 996-1006, 1010-18, 1048-49).

Despite the fact that Defendants did not move to strike these documents, the documents substantively do

not evidence any legal claims. For example, No. 2 is a complete copy of Blanks’ grievance form after it

had been fully processed through the steps of the CBA’s grievance procedure and reflects the dates that

the grievance was processed at each of the various grievance steps. It is that copy which Defendants

submitted in support of their motion for summary judgment. As discussed in detail in section II.D.(2)

below, Blanks apparently offers No. 2, together with No. 1 (a copy of the grievance at an earlier step of

the procedure), as purportedly being evidence that Defendants somehow dishonestly or fraudulently

processed his grievance. However, as shown below, Blanks submits no competent summary judgment

evidence that could establish this allegation as an undisputed fact. As such, this document does not

establish any element of any possible claim.

        Nos. 8-14 are documents reflecting communications between Blanks and Defendants discussing

Helms’ decision to withdraw Blanks’ grievance and Blanks’ subsequent appeal of that decision within

the union hierarchy. As these documents plainly reflect, Blanks’ appeal within the union was duly

considered and he presented no new or additional evidence during the course of his appeal that would

have alerted Defendants that the decision to withdraw his grievance in the good faith belief it lacked

merit to arbitrate violated any duty that they owed him or that any right he possessed may have been

violated. As such, these documents do not establish any element of any possible claim.

        No. 15 is a notice of electronic filing sheet from Blanks’ lawsuit against Vought that he offers as

evidence that his is not a “hybrid” DFR case. However, nothing in this document counters the

indisputable fact that, as a matter of law, Blanks’ allegations conclusively define his one real alleged

claim in this lawsuit as a “hybrid” DFR claim. As discussed in detail above, the fact that the employer-

side and union-side of Blanks’ alleged “hybrid” DFR claim have been litigated in separate lawsuits does

not mean that this is not an alleged “hybrid” DFR claim. As such, this document does not establish any

element of any possible claim.


Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 6
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                          Page 12 of 55 PageID 1329


        Nos. 18-20 and 23 are various pages of the CBA and union constitution. These documents do not

reflect that the decision to with draw and not arbitrate his grievance violated any duty that Defendants

owed him or that any right he possessed was violated by Defendants. As such, these documents do not

establish any element of any possible claim.

        Aside and apart from the foregoing, Blanks’ Motion is shot through with unsubstantiated

allegations, naked conclusions, and self-serving narratives and speculations that are unanchored to

admissible evidence. These self-serving ramblings are not admissible evidence that establish elements of

each alleged claim nor can they establish the absence of genuine issues of material fact. Larry v. White,

929 F.2d 206, 211 n.12 (5th Cir. 1991) (“Unsworn pleadings, memoranda or the like are not, of course,

competent summary judgment evidence.”).

        At bottom, Blanks fails to submit any factual evidence that would establish beyond dispute each

element of any alleged legal claim he identifies in his Motion. For this reason alone, his Motion must be

denied in its entirety.

        B.       The “Facts” Blanks sets forth in Section 5 of his Motion (doc. 69, Page ID 1052-53)
                 affirmatively precludes every alleged claim against every Defendant as identified by
                 Blanks, except his alleged DFR claim against Defendant Local 848.

        As discussed in detail in section I above, the “Facts” section of Blanks’ Motion conclusively

establishes that his only alleged claim in this lawsuit, if any, is that Local 848 breached the DFR. Thus,

for all of the reasons set forth in Section II of Defendants’ Memorandum Brief in Support of Motion to

Dismiss and/or For Summary Judgment (doc. 60, PageID 581-592), which is fully incorporated herein

by reference, each of the alleged claims identified by Blanks in his Motion, except for his alleged DFR

claim against Defendant Local 848 only, are preempted and/or barred as a matter of law. As such,

Blanks’ Motion must be denied on this ground as to each and every claim he alleges--except for his

alleged DFR claim against Defendant Local 848 (which is further discussed in Section II.D, below).

        As discussed above, Blanks complains of what he sees as three wrongs that are at the crux of his

lawsuit: (1) Defendants breached their DFR to him by “mishandling” his grievance, (2) Defendant Local


Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 7
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                              Page 13 of 55 PageID 1330


848 violated the CBA by entering into a “private bargaining relationship” with Vought to set aside his

grievance, and (3) Defendant Local 848 failed “in a negligent manner” to provide him with a

“satisfactory opportunity to vindicate his rights, pursuant to the contracted CBA.” (doc. 69, PageID

1052-53). However, only the first, breach of the DFR, implicates a legal claim the law recognizes.

         As to the second alleged wrong, Blanks cites no legal authority supporting the proposition that a

union’s decision to withdraw a grievance after attempting to negotiate a settlement of that grievance with

the company amounts to a “private bargaining relationship” that is somehow unlawful. Moreover, there

is no evidence that Blanks’ grievance was “settled” in the sense of Local 848 and Vought reaching a

mutually agreed resolution after give-and-take bargaining as he suggests. Rather, the summary judgment

evidence conclusively and indisputably shows that Local 848 had a practice of using the term “settled”

as the label for grievances that were unilaterally withdrawn by decision of the UAW International Union

representative as not meriting submission to arbitration. (Strowd Decl. ¶ 12(doc. 61 PageID 607); Helms

Decl. ¶¶ 18-19 (doc. 61 PageID 684-85). This is confirmed by the fact that Blanks fails to present

evidence of any agreement between Local 848 and Vought to “set aside his grievance.” 6 Thus, even

assuming some such cause of action exists, there is no evidence that Local 848 in fact entered into “a

private bargaining relationship” with Vought that resulted in an agreement to set aside Blanks’

grievance. For this reason, the second alleged wrong that Blanks identifies does not give rise to any

recognized legal claim against the Defendants.

         Finally, as to the third alleged wrong, Blanks contends that Defendant Local 848 negligently

failed to provide him with “a satisfactory opportunity to vindicate his rights” under the CBA. However,

as a matter of law, given the type of CBA at issue here, Blanks had no legal right to “a satisfactory

opportunity to vindicate his rights”; the power to invoke the higher stages of the grievance process rested

solely with the union. Vaca, 386 U.S. at 185. Moreover, mere negligence is insufficient as a matter of


6 Indeed, the only competent summary judgment evidence before the Court on this issue conclusively proves that the
decision to not submit Blanks’ grievance to arbitration was unilaterally made by Defendant Helms in his capacity as the
UAW International Union representative without any agreement or settlement with Vought. (Helms Decl. ¶¶ 16-17 & 21,
doc. 61 PageID 683-86).

Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 8
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                                   Page 14 of 55 PageID 1331


law to form the factual basis for a DFR claim. McCall v. Southwest Airlines, Co., 661 F.Supp.2d 647,

654 (N.D.Tex. 2009) (negligence is insufficient to support a finding of breach DFR, citing Landry v. The

Cooper/T. Smith Stevedoring Co., 880 F.2d 846, 852 (5th Cir.1989)). And, in any event, Blanks does

not present evidence of negligence on the part of Defendant Local 848 upon which a claim could rest.

Indeed, as conclusively shown in III.A. && 42-48 (pgs 42-44, infra.) Blanks was afforded the right, of

which he availed himself, to appeal Helms’ decision not to arbitrate his grievance to the UAW

International pursuant to Article 33 of its Constitution. Upon due consideration that appeal it was denied

in a written decision and Blanks presents no evidence that he was denied any right to which he was

entitled under the CBA or the UAW Constitution to “vindicate his rights.”

         C.        Even assuming, arguendo, that each of Blanks’ alleged claims, except his alleged
                   DFR claim against Defendant Local 848, is not otherwise preempted or barred,
                   Blanks fails to conclusively prove each element of each claim and cannot demonstrate
                   his entitlement to judgment as to any of these alleged claims.

         In the “History” section of his Motion, Blanks lists fourteen (mis-numbered as fifteen) alleged

causes of action. 7 (doc. 69 PageID 1053-54). Setting aside Blanks’ alleged breach of the DFR claim

(which is addressed in section II.D below), Defendants point out the factual and legal deficiencies of

each such alleged claim that preclude summary judgment in favor of Blanks as follows:

         (1)       “Breach of the Unions Fiducuary Duties” [sic]. In his Motion, Blanks offers no

evidence and cites no legal authority that would impose any duty on Local 848 in the context of this case,

fiduciary or otherwise, other than that imposed by the DFR. Absent evidence of or authority for

imposing a duty, there can be no cognizable claim for a breach of duty. Thus, as a matter of fact and as a

matter of law, no claim exists here for which Blanks would be entitled to judgment.

         (2)       “Violation of the Collective Bargains Agreement Article V” [sic]. As discussed in detail

in section I above, any breach of the CBA claim that Blanks might have would lie, if it did at all, against

Vought, not Defendants. Further, as demonstrated in section II.D below, as a matter of fact and as a



7 Blanks later sets forth a second listing of his alleged claims (doc. 69 PageID 1054-55) that duplicates this listing.


Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 9
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                                Page 15 of 55 PageID 1332


matter of law Defendants did not breach the CBA in their processing of Blanks’ grievance. Thus, as a

matter of fact and as a matter of law, no claim exists here for which Blanks would be entitled to

judgment.

         (3)      “Unfair Labor Practices Claim.” To the extent Blanks intends to assert an unfair labor

practice claim under the National Labor Relations Act against Defendants in this litigation, such claim is

preempted as the NLRA grants exclusive jurisdiction over such claims to the National Labor Relations

Board (“NLRB”). “As a general rule, neither state nor federal courts have jurisdiction over suits directly

involving ‘activity [which] is arguably subject to § 7 or § 8 of the Act.’” Vaca v Sipes, 386 U.S. at 178-

9, citing San Diego Building Trades Council v. Garmon, 359 U.S. 236, 245 (1959); Miranda Fuel Co.,

140 N.L.R.B. 181 (1962); Local 12, United Rubber Workers, 150 N.L.R.B. 312, enf’d, 368 F.2d 12 (5th

Cir.1966). Thus, as a matter of fact and law, no claim exists here for which Blanks would be entitled to

judgment.

         (4)      “Discrimination.” 8 As discussed in section II.D.(1) below, there is no summary

judgment evidence which would support a finding that Defendants acted with discriminatory intent

in processing Blanks’ grievance. Blanks presents no evidence of any discriminatory intent or animus

by Defendants in their processing of his grievance. To the extent that Blanks asserts Defendants had

some duty to investigate and rectify perceived racial discrimination or retaliation by Vought, no such

duty exists. See Thorn v. Amalgamated Transit Union, 305 F.3d 826, 832-33 (8th Cir. 2002), citing

Anjelino, 200 F.3d at 95-96 ("Though the Unions were prohibited from causing or assisting

unlawful discrimination by [plaintiff's] employer, nowhere in either [Title VII or the Minnesota

Human Rights Act] do we find language imposing upon unions an affirmative duty to investigate

and take steps to remedy employer discrimination."); Yarde v. Good Samaritan Hosp., 360

F.Supp.2d 552, 566 (S.D.N.Y. 2005) (rejecting 42 U.S.C. §1981(a) hostile work environment claim


8 It is unclear as to exactly what Blanks means by “discrimination,” but presumably this refers to racial discrimination
under Title VII of the Civil Rights Act of 1964, the Texas Labor Code Section 21.001 et seq., and/or 42 USC §1981(a).


Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 10
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                          Page 16 of 55 PageID 1333


on grounds that employer, not union, has duty to maintain environment free of discrimination).

Thus, as a matter of fact and as a matter of law, no claim exists here for which Blanks could obtain

judgment.

        (5)      “Contract Fraud.” As discussed in detail in section I above, any breach of the CBA

claim that Blanks might have would lie, if it did at all, against Vought, not Defendants. Further, as

demonstrated in section II.D below, as a matter of fact and as a matter of law Defendants did not breach

any contract in their processing of Blanks’ grievance. Further, as discussed in detail in section II.D.(2)

below, there is no summary judgment evidence that Defendants acted dishonestly or fraudulently in

processing Blanks’ grievance. Blanks presents no evidence of any material misrepresentations made by

Defendants upon which he relied to his detriment. Thus, as a matter of fact and as a matter of law, no

claim exists here for which Blanks would be entitled to judgment.

        (6)      “Contract Violation of the labor Code 305” [sic]. Defendants do not know to what this

refers. In any event, as discussed in detail in section I. above, any breach of the CBA claim that Blanks

might have would lie, if it did at all, against Vought, not Defendants. Further, as demonstrated in section

II.D below, as a matter of fact and as a matter of law Defendants did not breach the CBA in their

processing of Blanks’ grievance. Thus, as a matter of fact and as a matter of law, no claim exists here for

which Blanks would be entitled to judgment.

        (7)      “Collective Bargaining Agreement (CBA), fiduciary duty.” In his Motion, Blanks offers

no evidence and cites no legal authority that would impose any duty on Local 848 or the individual

Defendants in the context of this case, fiduciary or otherwise, other than that imposed by the DFR.

Absent evidence of or authority for imposing a duty, there can be no cognizable claim for a breach of

duty. Thus, as a matter of fact and as a matter of law, no claim exists here for which Blanks would be

entitled to judgment.

        (8)      “Malpractice.” In his Motion, Blanks offers no evidence and cites no legal authority

that would impose any duty on Local 848 or the individual Defendants in the context of this case,


Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 11
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                          Page 17 of 55 PageID 1334


malpractice or otherwise, other than that imposed by the DFR. Absent evidence of or authority for

imposing a duty, there can be no cognizable claim for a breach of duty. Thus, as a matter of fact and as a

matter of law, no claim exists here for which Blanks would be entitled to judgment.

        (9)      “Breach of Contract.” As discussed in detail in section I. above, any breach of the CBA

claim that Blanks might have would lie, if it did at all, against Vought, not Defendants. Further, as

demonstrated in section II.D below, as a matter of fact and as a matter of law Defendants did not breach

any contract in their processing of Blanks’ grievance. Thus, as a matter of fact and as a matter of law, no

claim exists here for which Blanks would be entitled to judgment.

        (10)     “Breach of Employment Contract.” There is no summary judgment evidence that

Blanks had an enforceable employment contract with Defendants, or anyone else for that matter. And, as

discussed in section I. above, any claim for breach of the CBA would lie, if at all, against Vought, not

Defendants. Defendants could not have unlawfully breached an employment contract with Defendants

that did not exist. Thus, as a matter of fact and as a matter of law, no claim exists here for which Blanks

would be entitled to judgment.

        (11)     “Negligence.” Blanks offers no evidence and cites no legal authority that would impose

any duty on Local 848 or the individual Defendants in the context of this case, be that an actionable

negligence duty of care claim or otherwise, other than that imposed by the DFR, where negligence is

insufficient to support a claim. McCall, 661 F.Supp.2d at 654. Absent evidence of or authority for

imposing a duty, there can be no cognizable claim for negligent breach of duty. Thus, as a matter of fact

and law, no claim exists here for which Blanks would be entitled to judgment.

        (12)     “Fraud.” As discussed in detail in section II.D.(2) below, there is no summary judgment

evidence that Defendants acted dishonestly or fraudulently in processing Blanks’ grievance. Blanks

presents no evidence of any material misrepresentations made by Defendants upon which he relied to his

detriment. Thus, as a matter of fact and as a matter of law, no claim exists here for which Blanks would

be entitled to judgment.


Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 12
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                                Page 18 of 55 PageID 1335


         (13)     “Damages.” 9 Monetary damages arising out of a breach of the DFR are limited to the

increase in backpay, if any, owed by the employer to the employee for discharging him in violation of

the CBA that results from the union’s mishandling of the grievance. Bowen v USPS, 459 U.S. 212, 213

(1983). Such damages are precluded here, as a matter of law, due to collateral estoppel as discussed in

section I above. And, in any event, Blanks’ Motion is defective on this issue in that he presents no

evidence apportioning his alleged damages between the employer and union as Bowen requires. Id.

         D.       Blanks is unable to conclusively prove each element of his alleged DFR claim against
                  Defendant Local 848 and nor can he establish his entitlement to judgment as a matter
                  of law as to this alleged claim.

         A union breaches the DFR only if its conduct toward a member of the bargaining unit is

“arbitrary, discriminatory, or in bad faith,” and only if that conduct is so far outside a "wide range of

reasonableness" that it could be termed irrational, illogical, or egregious. ALPA v. O'Neill, 499 U.S.

65, 67 (1991); Vaca v. Sipes, 386 U.S. 171, 190-92 (1967); Ford v. Huffman, 345 U.S. 330, 338

(1953); O'Neill v. ALPA, 939 F.2d 1199, 1203, (5th Cir. 1991); and McCall, 661 F.Supp.2d at 654.

Thus, a plaintiff asserting a DFR claim must present the following two forms of evidence: (1) evidence

of the subjective mental state or motive (i.e., arbitrary, discriminatory or bad faith) of the union officials

with responsibility for processing his grievance and (2) evidence of the objective lack of reasonableness

of the conduct of those union officials with responsibility for processing his grievance.

         As the Fifth Circuit held on remand in O'Neill v. ALPA, the standard for breach of

the DFR is a "demanding standard" and the union conduct complained of must be "sufficiently

egregious" to be considered a violation of the duty. O'Neill, 939 F.2d 1199, 1203 (5th Cir. 1991).

A union’s conduct is considered “arbitrary” in breach of the duty "only if, in light of the factual

and legal landscape at the time of the union's actions, the union's behavior is so far outside a wide range

of reasonableness as to be irrational." [emphasis added] O'Neill, 499 U.S. at 67 (quoting Ford v.


9 Defendants are unclear as to exactly what damages Blanks seeks to recover as his Motion is rambling and incoherent on
this issue. (doc. 69, PageID 1080-82). However, because Blanks’ only possible claim in this lawsuit is against Local 848 for
breach of the DFR, he could not recover more than what that cause of action permits. To the extent Blanks seeks sanctions
against Defendants for alleged discovery abuses, the Court has already rejected Blanks’ position in prior rulings.

Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 13
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                                  Page 19 of 55 PageID 1336


Huffman, 345 U.S.330, 338 (1953); McCall, 661 F.Supp.2d at 654. While a union must act

consistently with respect to each member, Vaca, 386 U.S. at 191, a union’s conduct is considered

“discriminatory” in breach of the duty only if the complained of conduct reaches a level that it could be

considered “invidious.” O'Neill, 499 U.S. at 81; McCall, 661 F.Supp.2d at 654. Finally, with respect to

“bad faith” the Fifth Circuit has described this as a "demanding standard" requiring proof of conduct that

is "sufficiently egregious" or so "intentionally misleading" as to be "invidious," or as to evince a purpose

to intentionally harm the member or membership. O'Neill, 939 F.2d at 1203-04.

         Blanks’ Motion fails the DFR test. The grounds Blanks advances in support of his alleged DFR

claim are scattered throughout his Motion, but fall into five basic categories: (1) Local 848 had

discriminatory or hostile motives towards him while processing his grievance; (2) Local 848’s

processing of his grievance was negligent, dishonest or perfunctory; (3) Local 848 failed to timely

process his grievance in rigid lockstep within the time frames expressly set forth in the CBA; (4) Local

848 failed to take his allegedly meritorious grievance to arbitration; and (5) Helms and Strowd allegedly

have a track record of not arbitrating grievances. Each ground is addressed in turn as follows:

         (1)       No admissible summary judgment evidence supports Blanks’ allegations that Local 848
                   had a discriminatory or hostile motive towards him while processing his grievance.

         Blanks alleges that Local 848 had a discriminatory motive towards him that was based on his

race, African-American. (doc. 69 PageID 1061, 1078-79). The only “evidence” Blanks offers in support

of this allegation is averment No. 22 in his Declaration. (doc. 69 PageID 1087). As discussed in Section

II.A above (and in Defendants’ concomitantly filed Motion to Strike Plaintiff’s Summary Judgment

Evidence and Brief in Support), Blanks’ allegations in his Declaration do not meet the requirements of

Fed.R.Civ.P., Rules 56(c)(2) & (4). This is particularly true of averment No. 22 in his Declaration,

which is plainly not based on Blanks’ personal knowledge. 10 In addition, Blanks’ factual allegations in

the “Background” section of his Motion on this issue are devoid of evidentiary support. (doc. 69 PageID



10 Affidavits submitted by pro se litigants “must affirmatively show the affiants’ competence to testify as to the matters
stated therein and that the facts stated in the affidavits are based on the affiants’ personal knowledge.” Barker v. Norman,

Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 14
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                          Page 20 of 55 PageID 1337


1054-55, 61). As such, this allegation cannot be a ground upon which summary judgment could be

granted to Blanks.

         Additionally, Blanks makes a passing reference in his Motion to racial discrimination under 42

U.S.C. § 1981(a). (doc. 69 PageID 1073). Despite Blanks’ superficial contentions relative to this alleged

claim, which are plainly insufficient to establish his entitlement to judgment, Defendants will address it

on the merits here. A labor union may be liable under § 1981(a) if it intentionally fails or refuses to file a

grievance for race discrimination after being asked by a member to do so or if the union causes or

attempts to cause an employer to discriminate on the basis of race. Goodman v. Lukens Steel Co., 482

U.S. 656, 667-69 (1987); Carter v. Chrysler Corp., 173 F.3d 693, 703-04 (8th Cir. 1999). To establish

liability under the latter theory, a plaintiff must show that "the Union itself instigated or actively

supported the discriminatory acts" made the basis of the suit. Anjelino v. New York Times Co., 200 F.3d

73, 95-96 (3d Cir. 1999) (emphasis in original).

         Blanks fails to provide any evidence of race discrimination by Defendants, in admissible form,

that would support a § 1981(a) claim. Blanks does not allege and does not offer any evidence

establishing that he requested Defendants to file a grievance alleging discrimination on account of his

race and that Defendants refused to do so. Nor does Blanks present any evidence in admissible form that

Defendants caused or assisted unlawful discrimination by Vought or anyone else. See Thorn v.

Amalgamated Transit Union, 305 F.3d 826, 832-33 (8th Cir. 2002), citing Anjelino, 200 F.3d at 95-96

("Though the Unions were prohibited from causing or assisting unlawful discrimination by [plaintiff's]

employer, nowhere in either [Title VII or the Minnesota Human Rights Act] do we find language

imposing upon unions an affirmative duty to investigate and take steps to remedy employer

discrimination."); Yarde v. Good Samaritan Hosp., 360 F.Supp.2d 552, 566 (S.D.N.Y. 2005) (rejecting

section 1981(a) hostile work environment claim on grounds that employer, not union, has duty to

maintain environment free of discrimination). Thus, no § 1981(a) claim exists here.



651 F.2d 1107, 1123 (5th Cir.1981) (citing Fed. R. Civ. P. 56(e)).

Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 15
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                             Page 21 of 55 PageID 1338


         Finally, Blanks alleges that Local 848 harbored hostility towards him because he desired to

work both at Vought and Lockheed Martin at the same time. (doc. 69 PageID 1066-67). Once again, no

competent summary judgment evidence supports this factual allegation. The only “evidence” Blanks

offers in support of this allegation is “document” No. 16 of his “Appendixs.” 11 (doc. 68 PageID 1007).

However, as fully discussed in Defendants’ Motion to Strike Plaintiff’s Summary Judgment Evidence

and Brief in Support (which is incorporated herein by reference), this “document” is completely

inadmissible because, among other things, it is not authenticated and contains multiple levels of hearsay

statements made by various unknown declarants. As such, this factual allegation is without evidentiary

support and, thus, cannot be a ground upon which summary judgment could be granted in Blanks’ favor.

         (2)      No admissible summary judgment evidence supports Blanks’ allegations that Local
                  848’s conduct in the processing of his grievance was negligent dishonest or perfunctory.

         Blanks alleges that Local 848 was negligent, dishonest or perfunctory in its processing of his

grievance. (doc. 69 PageID 1052-53, 1071-76). However, these are baseless allegations unsupported by

any competent summary judgment evidence. More specifically, Blanks does not dispute Defendants’

description of their processing of his grievance as set forth in Defendants’ summary judgment motion

and supporting appendices (and restated in section III, below). Defendants’ summary judgment evidence

sets forth, in painstaking detail, each and every action they undertook in processing Blanks’ grievance,

from the moment he first walked into the union hall on July 18, 2008 and announced his desire to file a

grievance over his discharge all the way through to his final appeal to the president of the UAW

International Union. 12 With one exception (further discussed below), Blanks does not make any real

effort to dispute the actions Defendants undertook in processing his grievance.

         Instead, Blanks charts a different course. He argues at length in his Motion that Defendants’

processing of his grievance was negligent, dishonest or perfunctory because he was not guilty of

falsifying a workers’ compensation claim and Defendants mishandled his meritorious grievance by



11 This “document” appears to be excerpts from two separate documents that Blanks copied onto a single sheet of paper.
12 See, e.g., Strowd Decl. ¶¶ 16-44, doc. 61 PageID 608-624 and Helms Decl. ¶¶ 11-29, doc. 61 PageID 675-690.

Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 16
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                          Page 22 of 55 PageID 1339


untimely processing his grievance and, thus, he is entitled to judgment. (doc. 69 PageID 1065-79).

However, Defendants’ summary judgment evidence describing the actions they undertook (which Blanks

plainly accepts as true here) do not support his allegations that they processed his grievance in a

negligent, dishonest or perfunctory manner. Indeed, the evidence proves the opposite is true.

        Moreover, as discussed in section I. above, Blanks’ is collaterally estopped from proving that he

was discharged without just cause. Thus, there is not, indeed cannot be, any summary judgment evidence

before this Court supporting Blanks’ allegation that his grievance was meritorious. Therefore, this

allegation cannot support Blanks’ assertion that Defendants processed his grievance in a negligent,

dishonest or perfunctory manner.

        Blanks’ argument regarding the time frame in which Defendants processed his grievance is also

without evidentiary support as demonstrated in section II.D.(3) below. Therefore, this allegation also

cannot support Blanks’ assertion that Defendants processed his grievance in a negligent, dishonest or

perfunctory manner.

        Finally, Blanks suggests the appearance of dishonesty in connection with signatures on his

grievance form. (doc. 69 PageID 1071). More specifically, he attaches in his “Appendixes” two copies of

his written grievance form. The first (document No. 1, doc. 68 PageID 989) was apparently produced by

Vought in Blanks’ sister lawsuit against the company. This copy does not contain Strowd’s signature on

the bottom reflecting his appeal of the grievance to the pre-arbitration review step. The second

(document No. 2, doc. 68 PageID 990) was produced by Defendants in the case at bar. This copy

contains Strowd’s signature reflecting his appeal of the grievance to the pre-arbitration step on January

20, 2009. The difference in these two copies of Blanks’ grievance merely reflects the point in time the

copy was made: No. 1 being copied before the grievance was appealed to the pre-arbitration review step

and No. 2 after its appeal. Nevertheless, from this, Blanks speculates or infers that Defendant Local 848

engaged in some sort of dishonesty or fraud in processing his grievance. However, speculation is not

summary judgment evidence and, on summary judgment, inferences are indulged in favor of the non-


Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 17
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                                  Page 23 of 55 PageID 1340


movant.

         Moreover, there is nothing dishonest or fraudulent about the final signature line differences in

these two documents. The disposition blocks and signature lines on Blanks’ grievance form are only

filled in as each step of the grievance procedure is completed. Thus, it is unsurprising that Vought

retained and produced to Blanks a copy of the grievance form in an earlier iteration that did not contain

all of the signatures found on the final version of the grievance form that were subsequently added as

time went by and additional grievance steps were completed. This does not give rise to an inference of

dishonesty or fraud. There is no summary judgment evidence of dishonesty as Blanks alleges.

         (3)       As a matter of fact and as a matter of law, Local 848 timely processed Blanks’ grievance
                   in complete conformance with the CBA.

         Blanks alleges that Local 848 breached its DFR to him by failing to process his grievance in

rigid lockstep with the time frames set forth in the CBA for each grievance step. (doc. 69 PageID

1066,1071). Blanks is wrong, on both the facts and the law.

         The problem with Blanks’ allegation is threefold: (1) the CBA expressly allowed Defendants

and Vought to extend the CBA defined grievance Step timelines by agreement—and they did so here, (2)

federal labor law permits the union and company to rely upon long standing past practice (i.e., “common

law of the shop”) to control the timely submission of grievances beyond the timeframes defined in a

CBA—and they did so here, and (3) Blanks suffered no harm resulting from the timeframe in which

Defendants processed his grievance here.

         To begin with, as a matter of fact, two sections of the CBA completely dispose of Blanks’

contention here. Specifically, Article V Section 6.e provides that when the union does not receive a

disposition within the time limits defined in the CBA it can be appealed to the next step, not that it is

granted or denied; and Article V Section 6.f expressly permits Local 848 and Vought to extend grievance

time limits by mutual agreement. 13 These provisions of the CBA defeat Blanks’ contention that the


13 As pertinent here, Article V Section 6 “General Provisions of the Grievance Procedure” provides as follows:
     “e. If the Union does not receive a disposition to a grievance within the time limits set forth herein, the grievance may
     be appealed to the next step.

Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 18
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                            Page 24 of 55 PageID 1341


Third Step had to be completed within five days and because it was not he is entitled to judgment.

        There is no dispute as to the timeframes that Defendants processed Blanks’ grievance.

Specifically, as the grievance involved employee discipline it was initiated at the Second Step per Article

V Section 10.f on July 18, 2008, then upon denial by Vought on July 21, 2008 it was submitted to the

Third Step by Local 848 on July 24, 2008, where it was again denied by Vought on September 2, 2008—

approximately a month and half later, the timing at each step by mutual agreement or past practice of the

parties. (doc. 61 PageID 613-15, 622; doc. 61 PageID 633; 61 PageID 684). Further, that Local 848 did

not receive a disposition of the grievance from Vought within five days did not mean that Blanks’

grievance was automatically upheld as he seems to insinuate; to the contrary, Article V Section 6.e

provided that the grievance may only be appealed to the next grievance step, effectively treating it as if it

had been denied by Vought. Thus, whether the Third Step of Blanks’ grievance was completed within

five days of the initial July 24, 2008 submission or, as it was here, a month and a half later by agreement

or practice, the result would be the same under the CBA: the grievance could be appealed to the next

step—the Prearbitration Review Step. And, in fact, that is exactly what happened — the Plant Grievance

Committee voted to appeal Blanks’ grievance and Grievance Committee Chairman Strowd signed the

grievance on January 20, 2009 appealing it to the Prearbitration Review Step. (doc. 61 PageID 615).

        Blanks further complains that Defendants breached their DFR to him by sitting on his grievance

for a “year and half” (i.e., September 2, 2008 until January 20, 2009) at the Prearbitration Review Step

before finally withdrawing it. Here again, Blanks’ argument is defeated by Article V Section 6.f as it is

undisputed that Strowd — having discretion at the Prearbitration Review Step after the grievance had

again been denied by Vought to withdraw the grievance, submit it to UAW International Representative

Helms for final decision on arbitration or hold it in abeyance by agreement pending further discussions

with Vought — chose to hold the grievance in abeyance by mutual agreement with Vought and used that

extra time to try and negotiate a resolution of the grievance that would allow Blanks to remain employed.



     f. The time during which a grievance must be dispositioned or appealed may be extended by mutual agreement.”

Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 19
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                          Page 25 of 55 PageID 1342


(doc. 61 PageID 619-22).

        In addition to the foregoing textual basis in the CBA that permitted Defendants to process

Blanks’ grievance in the timeframes they did, Blanks’ grievance was, as a matter of law, processed in

accordance with the usual and long-term practice between Local 848 and Vought in their administration

of the CBA’s grievance mechanism. (doc. 61 PageID 603-07, 622; doc. 61 PageID 684). Federal courts

have long recognized that this “common law of the shop” may dictate the rights and duties of the parties

to a CBA. See, e.g., Steelworkers v. Warrior & Gulf Navigation Co., 363 U.S. 574, 579-81 (1960). As

such, Defendants processing of Blanks’ grievance was, as a matter of law, in complete conformance

with Local 848’s and Vought’s longstanding past practice, or the “common law of the shop.”

        Last, but not least, Blanks’ position is defeated by the undisputed fact that he suffered no harm

or prejudice as a result of the timeframe in which Defendants processed his grievance. It is undisputed

that the month and half processing of Blanks’ grievance at the Third Step had no effect whatsoever on

his grievance; it was moved forward to the next step no differently than if it had been denied by Vought

within five days. With respect to Defendants’ processing of Blanks’ grievance at the Prearbitration

Review Step for a year and half, it is undisputed that Blanks suffered no prejudice to his grievance at

that Step or thereafter. As Helms has averred, without dispute, in his Declaration “No issue was ever

raised by Vought regarding the procedural timeliness or arbitrability of Blanks’ grievance…” (doc. 61-3

PageID 684). Therefore, as a matter of fact and as a matter of law, Local 848 timely processed Blanks

grievance at every step and did not breach its DFR.

        (4)      As a matter of fact, Blanks’ grievance was not meritorious and, even if it were, as a
                 matter of law, Local 848 did not violate its DFR to Blanks by not submitting his
                 grievance to arbitration.

        Next, Blanks contends that Defendants breached their DFR because his grievance was

meritorious and they settled it (by withdrawing it) short of arbitration. (doc. 69 PageID 1065-67).




Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 20
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                          Page 26 of 55 PageID 1343


However, as discussed in sections I. and II.D.(2) above, Blanks is collaterally estopped from re-

litigating this issue here.

        Moreover, even assuming, arguendo, the merits of Blanks grievance is a live issue here and

Blanks could conclusively prove that his grievance had some merit, it has long been the law that a

union member has no absolute right to have his grievance taken to arbitration and the union may

decline to take an arguably meritorious grievance to arbitration. Vaca v Sipes, 386 U.S. 171, 191-92

(1967) ("a union does not breach its DFR, and thereby open up a suit by the employee for breach of

contract, merely because it settled the grievance short of arbitration."). Blanks presents no legal

authority that contradicts this statement of the controlling law.

        In any event, what Blanks must prove to sustain his DFR claim (on the union side of the

“hybrid” liability inquiry) is, not simply that his grievance was meritorious, but that Local 848’s

conduct towards him (1) was based on an “arbitrary, discriminatory, or in bad faith” motive and (2)

that conduct was so far outside a “wide range of reasonableness” that it could only be termed

irrational, illogical or egregious. ALPA v. O'Neill, 499 U.S. 65, 67 (1991); Vaca v. Sipes, 386 U.S. 171,

190-92 (1967); Ford v. Huffman, 345 U.S. 330, 338 (1953); O'Neill v. ALPA, 939 F.2d 1199, 1203 (5th

Cir. 1991).

        As Defendants have proven to the Court, without any contradictory evidence from Blanks,

Helms determined at the time, based on his review of the Local 848’s grievance file, Vought’s

documents on the matter, discussions with Strowd and Munoz, and his own experience, that Blanks’

grievance was not meritorious, that an arbitration of Blanks’ grievance would not be successful and, for

this sole reason, withdrew the grievance prior to submission to arbitration. (Helms Decl. ¶16, doc. 61

PageID 683-84). There can be no question that, given the information available to Helms at the time and

the undisputed information and factors he then had before him, upon which he based his decision, that

his decision to withdraw Blanks’ grievance and not submit it to arbitration was reasonable, rational and

logical. As such, Blanks is not entitled to judgment and his Motion must fail.


Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 21
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                            Page 27 of 55 PageID 1344


        (5)      No summary judgment evidence supports Blanks’ allegation that Helms and Strowd
                 have a track record of not taking grievances to arbitration nor does Blanks present any
                 legal authority that the union’s arbitration track record entitles him to judgment as a
                 matter of law.

        Blanks contends that Defendants breached their DFR to him because, allegedly, Helms and

Strowd have never taken a case to arbitration in their careers. (doc. 69 PageID 1067-69). Blanks’

contention is without evidentiary support and without any support in the law.

        First, Blanks blatantly mischaracterizes Helms’ deposition testimony when he states that Helms

“attested under deposition that he failed to arbitrate any grievance of any union body under his authority

[approximately 30,000.00 paying union members] in over two decades!!!” (doc. 69 PageID 1068).

Conspicuously, Blanks does not attach any excerpts from Helms’ deposition transcript. This is not

surprising because the Helms deposition transcript plainly belies this characterization. To the contrary,

the Helms deposition transcript plainly reflects that Helms testified only to his then Local 848 arbitration

record against Vought (i.e., since September 2004) and, while attempting to fully describe his overall

arbitration experience, was cut off by Blanks. 14 Moreover, Helms avers in his Second Declaration, which

was originally submitted in response to Blanks’ blatant mischaracterization of his deposition testimony

in his Response to Defendants Motion to Dismiss and/or for Summary Judgment, that he has a

significant record of personally arbitrating at least ten (10) grievances over the course of his career as a

UAW Local and later International representative and has, in fact, made the decision to submit

grievances to arbitration on behalf of Local 848 against Vought which currently remain pending. (doc.

74 PageID 1173-74). Furthermore, Helms’ Declaration explains why he was unable to state his complete

arbitration record during his deposition (i.e., Blanks cut him off) and, thus, there is no inconsistency

between his deposition testimony and his Declaration. (doc 74 PageID 1171-72). In short, there is no

summary judgment evidence that supports Blanks’ allegation here.

        A similar situation exists with respect the Blanks’ allegations about Strowd’s arbitration record.


14 The relevant Helms deposition excerpts containing Blanks’ questioning of Helms and his answers are found in the
Appendix Defendants filed in Support of Defendants Replay and Brief in Support of Motion to Dismiss and/or for Summary
Judgment. (doc.74 PageID 1177-1185).

Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 22
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                                 Page 28 of 55 PageID 1345


(doc. 69 PageID 1068). However, unlike the Helms situation, it is undisputed that Strowd did not

possess the authority or have the responsibility to take a grievance to arbitration in his position as

Grievance Committee Chairman, and he did not make the final arbitration decision here; that authority

and decision rested solely with Helms as the UAW International Representative assigned to Local 848.

(doc. 74 PageID 1174).Thus, while Blanks also mischaracterizes Strowd’s deposition testimony, the

bottom line is that Strowd’s arbitration record is not material to Blanks’ alleged DFR claim given that

Strowd indisputably did not, indeed could not, make the final arbitration decision on Blanks’ grievance.

As such, there is no summary judgment evidence that supports Blanks’ allegation here.

         The final part of Blanks’ contention here is the insinuation in his Motion that Helms’ (and,

immaterially, Strowd’s) arbitration track record can evidence a breach of the DFR. In other words,

according to Blanks, he can obtain summary judgment on his DFR claim merely by submitting some

evidence that the union’s arbitration decisionmaker has taken no grievances to arbitration. Blanks cites

no legal authority in support of this self-serving, novel theory (none of the cases he cites support such a

theory). In any event, from an evidentiary perspective, Helms’ Declaration describing his lengthy history

of taking grievances to arbitration puts to rest, beyond dispute, any notion that his decision to not submit

Blanks’ grievance to arbitration was “deliberate, planned and habitual” as based on his past arbitration

track record, which record reflects that Helms has taken numerous grievances to arbitration in his career.

(doc. 74 PageID 1173-1175, 1187-1193). As such, Blanks’ contention here is completely without merit

and does not remotely compel judgment in his favor. 15

III.     ALTERNATIVELY, DEFENDANTS’ EVIDENCE CONCLUSIVELY ESTABLISHES
         MATERIAL FACTS THAT AFFIRMATIVELY DEFEAT BLANKS’ ALLEGED
         CLAIM AND, THUS, HIS MOTION MUST BE DENIED.

         As Defendants have pointed out to the Court in sections I. and II. above, Blanks’ Motion is

defeated by the legal doctrine of collateral estoppel, which precludes him from establishing a requisite



15 In his Motion, Blanks continues to rail against what he considers discovery abuses committed by Defendants and their
counsel in this lawsuit. (doc. 69 PageID 1069-71). However, the Court has rejected all of Blanks’ allegations in this regard
in several discovery related rulings.

Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 23
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                          Page 29 of 55 PageID 1346


element of his only real alleged claim in this lawsuit, and the numerous defects in his Motion (i.e., his

summary judgment “evidence” is non-existent, incompetent and/or insufficient, particularly when

combined with the established law that is unfavorable to him at nearly every turn). However, in an

abundance of caution, should the Court decide that Blanks can get past those hurdles, Defendants hereby

submit their own summary judgment evidence that establishes, beyond dispute, material facts that

affirmatively and conclusively defeat, on the merits, Blanks’ only real alleged claim in this lawsuit:

alleged breach of the DFR against Local 848.

        A.       Undisputed materials facts that affirmatively and conclusively preclude summary
                 judgment in favor of Blanks.

        1. Defendant United Aerospace Workers Local 848 (ALocal 848") is a local labor organization

affiliated with the International Union, United Automobile, Aerospace & Agricultural Implement

Workers of America UAW (AUAW International@). (Helms Decl. &5 (doc. 61 PageID 673); Munoz Decl.

&3 (doc. 61 PageID 822-23).

        2. Vought Aircraft Industries, Inc. ("Vought") and the UAW International and its Local 848 were

parties to a collective bargaining agreement with a term from 10/1/07 through 10/3/10 ("the CBA"). The

CBA at "ARTICLE V GRIEVANCE, ARBITRATION AND DISCHARGE PROCEDURES" contains

a procedure for resolving grievances filed by employees covered by that agreement alleging violation of

the CBA, including procedures for resolving grievances alleging that an employee has been unjustly

discharged by Vought. (Helms Decl. &6, Ex1 (doc. 61 PageID 673, 691-97); Strowd Decl. &4, Ex1 (doc.

61 PageID 603, 625-31)).

        3. Defendant Russell Strowd is a representative of Local 848 and serves as the Grievance

Chairman of the Vought "Plant Grievance Committee" for Local 848, in which capacity he is involved in

the processing of grievances on behalf of Local 848 filed by either Local 848 or by employees of Vought

claiming violation of the CBA. (Strowd Decl. & 3, 5 (doc. 61 PageID 602-03)).

        4. Defendant Romeo Munoz is currently the President of Local 848, having assumed office on

April 5, 2009. As President of Local 848, Munoz is not involved in the processing of grievances filed by

Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 24
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                          Page 30 of 55 PageID 1347


Vought employees under the CBA until the Prearbitration Review Step, as further described hereafter.

(Munoz Decl. & 3, 5, 6 (doc. 61 PageID 622-23)).

        5. Defendant Wendell Helms is an International Representative of the UAW International, in

which capacity, among other duties, he is assigned to assist in the negotiation and administration of

collective bargaining agreements between Vought, its predecessor and successor companies, and the

UAW International and its Local Union 848. As International Representative Helms is not involved in

the processing of grievances filed by Vought employees under the CBA until the Prearbitration Review

Step, as further described hereafter. (Helms Decl. & 3, 5, 7 (doc. 61 PageID 672-74)).

        6. Plaintiff A. Cornell Blanks worked as an Assembler for Vought for approximately six months

from 1/8/08 (Strowd Decl. &15 (doc. 61 PageID 607-08)) until he was terminated by Vought on 7/10/08,

on the grounds, as stated in a letter from Vought to Blanks on that same date, that he had made a

"deliberate falsification of information [he] provided on a workers compensation claim" by claiming that

he had been injured on the job on Monday, 6/23/08, for which he submitted a claim for workers

compensation, but that upon investigation by Vought it had been determined that Blanks had not been at

work on 6/23/08, and thus had falsified his workers compensation claim. (Strowd Decl. & 15, Ex.2, (doc.

61 PageID 607-08, 632)); (Helms Decl. & 12a, Ex.3, (doc. 61 PageID 676, 699)).

        7. On Friday, July 18, 2008, Blanks came to the Local 848 union hall where he met with Strowd,

Al Shedrick (who was the Grievance Committeeman for the area of the Vought plant in which Blanks

worked), and Steward J.T. Wilson. At that time Blanks requested that a grievance be filed against

Vought under the CBA contesting his discharge. Shedrick then prepared, and Blanks signed, grievance

#08-0446, contending that he was "unjustly terminated" by Vought and requesting that he be reinstated.

(Strowd Decl. &16, Ex3 (doc. 61 PageID 608, 633); Shedrick Decl. &3,4 (doc. 61 PageID 830-31)).

        8. At the time Blanks met with Strowd, Shedrick and Wilson at the Local 848 union hall to file

his grievance, he told them that he had in fact reported to work on 6/23/08, and that he had been injured

while working on that date when a plant hoist slipped which was holding up an engine he claims to have


Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 25
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                          Page 31 of 55 PageID 1348


been working on. As support, Blanks told Strowd, Shedrick, and Wilson at that time that a coworker

named Thomas Chick, who is now deceased, could corroborate his story, both that he worked on 6/23/08

and that he suffered an injury on that date when a plant hoist slipped. (Strowd Decl. &18 (doc. 61 PageID

609); Shedrick Decl. &5 (doc. 61 PageID 831-32); (Wilson Decl. &10 (doc. 61 PageID 836)). At that

time, and at no subsequent time, did Blanks provide them or any other Local 848 representative with any

other evidence to substantiate or otherwise support his claim that he was at work on 6/23/08, or that he

suffered an injury on the job on that date, or on any other date. Blanks never stated to Strowd, Shedrick,

Wilson, or any other Local 848 representative, at that time or thereafter, that Vought had made a mistake

and had listed the wrong date that he was injured in its July 10, 2008 letter terminating him and that he

was actually injured on June 21, 2008, a date Vought's termination letter stated that he did work,

although he was not scheduled to do so; rather, Blanks consistently told Local 848 representatives that

he worked and was injured on June 23rd. (Strowd Decl. &18 (doc. 61 PageID 609); Shedrick Decl. &5

(doc. 61 PageID 831-32); (Wilson Decl. &10 (doc. 61 PageID 836)).

        9. To determine whether Thomas Chick could support Blanks' statement that he was had worked

and was injured on the job on 6/23/08, Strowd asked Wilson to contact Chick to see if he could verify

Blanks' account. While in Strowd=s office, Wilson spoke by telephone with Chick who told Wilson that

he had no recollection of Blanks working on 6/23/08, nor did he recall seeing Blanks suffer an on the job

injury. After relaying what Chick had told Wilson to Strowd, to be sure that Chick could not provide

support for Blanks= grievance, Strowd asked Wilson to go and speak with Chick personally and ask him

again whether he could remember seeing Blanks at work on the 23rd and whether he had any memory of

Blanks being involved in an accident on that date or on any other date where Blanks was injured while

working in the plant. On that date, or within a few days thereafter, Wilson went to see Chick in person in

the Vought plant and again asked him if he could remember seeing Blanks at work in the plant on June

23rd, and if he had any recollection of seeing him get injured while at work. Chick again told Wilson that

he had no recollection of seeing Blanks at work on June 23rd and also that he had never seen Blanks


Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 26
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                          Page 32 of 55 PageID 1349


involved in any accident or injury on that date or on any other date while he was at work in the plant.

Wilson then reported back to Strowd that he had spoken with Chick personally and that he again told

him that he did not recall seeing Blanks at work on 6/23/08 or recall seeing him suffer an injury on the

job on that date or on any other date. Chick has since died. (Strowd Decl. &18-19 (doc. 61 PageID 609-

10); Wilson Decl. &3-9 (doc. 61 PageID 834-36)).

        10. Blanks= grievance contesting his discharge was signed by Shedrick on Friday, July 18, 2008,

and presented by him to Vought Human Resources Generalist Deborah Paino at 9:30 a.m. on the

following Monday, July 21, 2008. As Blanks= grievance involved employee discipline or discharge, per

Article V, Section 10f of the CBA, the grievance was entered directly into the Second Step of the

procedure, as indicated on the grievance form. (Strowd Decl. &16, 20, Ex3 (doc. 61 PageID 608, 610-11,

633); (Shedrick Decl. &4 (doc. 61 PageID 831)).

        11. After Shedrick met with Paino and presented Blanks= grievance, Paino, issued Vought's

Second Step decision on July 23, 2008 denying the grievance, stating on the grievance form that it was

Vought's position that Blanks had been "terminated after he deliberately changed and falsified info he

provided on a workers comp claim." Specifically, as further stated in Paino's second step disposition of

Blanks' grievance, the factual basis upon which Vought relied to support this charge was as follows:

        Greivant [Blanks] had originally submitted all of his info [for his workers compensation
        claim] to the [Vought] Medical Dept. via phone on 7-3-08, but reported in person later
        that day [to the Medical Department] & changed the date that he allegedly hurt himself to
        6-23-08. Stated injury occurred @ 6:15 AM on 6-23. States he left work before 7:00 AM
        & reported to Emid Hill [his supervisor] prior to leaving. Company records indicate: [he]
        called in sick 5:38 AM on 6-23, no clock-ins, supv. & co-workers did not see or talk to
        him on 6-23. Grievance Denied.

(Strowd Decl. &20, Ex3 (doc. 61 PageID 610-11, 633); (Shedrick Decl. &4 (doc. 61 PageID 831)).

        12. On July 24, 2008, Shedrick picked up Blanks' grievance containing Vought's Second Step

decision denying the grievance and, in turn, as a member of Local 848's Vought Plant Grievance

Committee, he appealed the grievance to the Third Step of the grievance procedure pursuant to Article V,

Section 5 of the CBA to be heard at a Third Step meeting of the Vought Grievance Review Committee.


Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 27
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                          Page 33 of 55 PageID 1350


(Strowd Decl. &21, Ex3 (doc. 61 PageID 611, 633); (Shedrick Decl. &4 (doc. 61 PageID 831)).

        13. Because Vought's July 10, 2010 letter stated that Blanks was being terminated for falsely

claiming that he worked and suffered an on the job injury on 6/23/08, and because Blanks himself had

told Local 848 representatives that he in fact did work and was injured on June 23rd, Local 848

representatives focused their investigation of Blanks= grievance on looking for evidence that would show

that Blanks in fact worked on June 23rd and was injured on that date. (Strowd Decl. &22 (doc. 61

PageID 611); Shedrick Decl. &6 (doc. 61 PageID 832)).

        14. As part of Local 848's investigation of Blanks= grievance, prior to the Third Step meeting,

Strowd and Shedrick requested that Vought provide them with the documentation and other evidence

which Vought was relying on as proof that Blanks did not work on 6/23/08 when he claimed to have

been injured on the job and that he had otherwise submitted false information in connection with his

workers compensation claim. They also requested specific attendance and work records from Vought of

the type which would show if Blanks had worked on June 23rd, and that would have been generated by

Vought if Blanks had come into work that day. They also requested a copy of Blanks' personnel file to

determine his prior work and disciplinary record. (Strowd Decl. &23 (doc. 61 PageID 611-12); Shedrick

Decl. &6 (doc. 61 PageID 832)).

        15. In response to Local 848's information request, Vought provided Strowd and Shedrick with a

copy of Blanks' personnel file and with a packet of various attendance, work, medical, and workers

compensation claim information and documentation. Later at the Third Step Meeting on August 15,

2008, Vought also provided Strowd and the Plant Grievance Committee with a printout of a Powerpoint

slide show Vought presented at the Third Step meeting detailing and summarizing Vought's

investigation and the documentation Vought contended supported its position that Blanks had been

terminated for just cause by falsifying information on his workers compensation claim. (Strowd Decl.

&24, 27; Ex4 (doc. 61 PageID 612-14, 634); Shedrick Decl. &6 (doc. 61 PageID 832)).

        16. Upon review of the documents and information requested by Strowd and Shedrick provided


Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 28
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                          Page 34 of 55 PageID 1351


by Vought, which would have shown if Blanks had worked on June 23rd, Strowd and Shedrick found no

indication that Blanks had come into work on June 23rd. Also, from their investigation, not only did

Blanks' supervisor state that Blanks did not come into work on June 23rd, none of Blanks= co-workers,

including Chick, recalled seeing him at work on June 23rd, nor did any of his coworkers recall seeing

him get injured on the job on that date or any other date. (Strowd Decl. &24; Ex4 (doc. 61 PageID 612-

13, 634); Shedrick Decl. &6 (doc. 61 PageID 832)).

         17. A Third Step meeting was held on August 15, 2008 pursuant to Article V, Section 5 of the

CBA with regard to Blanks' grievance, and a number of other grievances which were also set up for

consideration on that date. (Strowd Decl. &25 (doc. 61 PageID 613)).

         18. At the Third Step Meeting Strowd, as Grievance Chairman, and the other members of the

Plant Grievance Committee argued in support of Blanks= grievance that, although the documentation did

not show that Blanks was at work on 6/23/08, it did not prove that he was not at work on that date. They

also argued that in the circumstances discharge was too harsh a penalty for what may be simply a

mistake in completing the workers compensation forms and that as a relatively new employee, hired on

January 8, 2008, whose personnel file indicated no prior discipline or work problems, he should be given

another chance. On that basis they argued that Blanks should be reinstated and made whole, or that

alternatively that his termination should be reduced to a suspension. (Strowd Decl. &26 (doc. 61 PageID

613)).

         19. At the Third Step meeting Vought representatives reviewed with the Local 848 Plant

Grievance Committee the evidence summarized in the slide presentation (see Strowd Decl. &27; Ex4

(doc. 61 PageID 613-14, 634)) which Vought contended proved that Blanks did not work at Vought on

6/23/08 when he claims to have been injured on the job. Vought presented evidence that Blanks had

called in sick that morning and that he had made inconsistent statements about the date when he claims

he was injured: initially telling the Vought Medical Department during a phone call on July 3, 2008 that

he was injured on June 21, 2008, but then later that day going to the Medical Department and telling


Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 29
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                          Page 35 of 55 PageID 1352


them that he had made a mistake and adamantly insisting that the Medical Department prepare a new

injury report showing the date of his injury to be 6/23/08. (Id.; doc. 61 PageID 613-14, 634-52). Vought

also presented evidence that Blanks= supervisor and none of his coworkers saw him at work on June 23rd

and that none of his coworkers recalled him being injured on June 21st, when he was at work, or on any

other date. (Id.). Moreover, they argued that the Vought attendance and work records which would have

shown if Blanks worked on June 23rd showed that he never clocked-in, checked out tools, performed

any work, or otherwise indicated that he had come into work on June 23rd. (Id.). Thus, Vought took the

position that Blanks was properly "terminated for deliberate falsification of Company records, i.e.,

information he provided on a workers compensation claim" which by itself provided just cause for his

termination. (Id.). With regard to information that Blanks had been recalled to Lockheed Martin from

layoff and was working there, or planned to also work there, Vought indicated that the evidence that

Blanks had made inconsistent statements about the date he claims to have been injured and that he had

called in sick and was not at work on 6/23/08 when he claimed to have suffered an on the job injury at

Vought, was sufficient proof in itself that he was guilty of falsifying information in making a workers

compensation claim to support his termination for just cause. (Id.). On that basis, Vought refused at the

Step Three meeting to reverse its decision to terminate Blanks, and would not consider modifying its

disciplinary action by agreeing to impose a lesser form of discipline, such as reinstatement without

back-pay, as a settlement for Blanks' grievance. (Id.).

        20. On September 2, 2008, Vought Labor Representative Frank Baczewski, entered Vought's

Third Step disposition of Blanks' grievance on the grievance form stating that

        "It is the Company's position that no provision of Article V has been violated. The
        grievant was disciplined for just cause in accordance with Company Policy. Grievance
        denied."

(Strowd Decl. &28; Ex3 (doc. 61 PageID 614-15, 633)).

        21. After Vought=s denial Blanks' grievance at the Third Step, the Plant Grievance Committee

voted to appeal Blanks' grievance to the Prearbitration Review Step pursuant to Article V, Section 7 of


Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 30
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                          Page 36 of 55 PageID 1353


the CBA, commonly referred to as Step 32. On January 20, 2009, as Chairman of the Committee,

Strowd signed Blanks' grievance appealing it to the Prearbitration Review Step so that it could be heard

at the next quarterly Prearbitration Review meeting scheduled for January 29, 2009. (Strowd Decl. &29;

Ex3 (doc. 61 PageID 615, 633)).

        22. At the Prearbitration Review Step, or Step 32, of the grievance procedure the grievance is no

longer handled at the Vought plant level. As required by Article V, Section 7a of the CBA, an appeal

from a Third Step denial is made to the Vought Director of Labor Relations and the subsequent Step 32

Prearbitration Review meeting is required under Article V, Section 7b to be held between Vought's

Director of Labor Relations, or his/her designee, and the following representatives of Local 848: the

Chairman of the Plant Grievance Committee, the Local 848 President, and a representative of the UAW

International Union. It is at the Step 32 level of the grievance procedure that Wendell Helms, the

International Representative assigned to Local 848, and Local 848 President Munoz became involved in

the processing of Blanks' grievance. (Strowd Decl. &29 (doc. 61 PageID 615); Helms Decl. &7, 8, 11

(doc. 61 PageID 673-76)).

        23. Once a grievance is denied at the Third Step, if the Plant Grievance Committee votes to

appeal it to the Prearbitration Review Step, it typically takes several months for the grievance to reach

the point that it will be considered at the Step 32 meeting specified in Article V, Section 7b of the CBA.

This is because the Step 32 meeting involves not one but a number of grievances appealed to Step 32

and also requires the participation of a UAW International Representative, who has the authority and

makes the decision whether to arbitrate a grievance which is not settled at that meeting. As such, Step 3

2 meetings are usually scheduled on a quarterly basis. The next Step 3 2 meeting which was scheduled

after Vought's September 2, 2008 denial of Blanks' grievance at the Third Step was on January 29, 2009,

at which Strowd arranged for it to be initially set. (Strowd Decl. &11, 30 (doc. 61 PageID 605-06, 615-

16); Helms Decl. &8, 10 (doc. 61 PageID 674-75)).

        24. After grievances are appealed to the Prearbitration Review Step, during the time between the


Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 31
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                          Page 37 of 55 PageID 1354


Third Step denial of a grievance and the Step 32 meeting, discussions continue between representatives

of Local 848 and Vought in an effort to settle unresolved grievances before the Step 32 meeting, which

is the last step in the grievance procedure where there remains the opportunity to settle a grievance prior

to the union having to make the decision under Article V of the CBA to arbitrate the grievance under

Section 8 or to withdraw it under Section 6b. (Strowd Decl. &31 (doc. 61 PageID 616); Helms Decl. &10

(doc. 61 PageID 675)).

        25. After the September 2, 2008 Third Step denial of Blanks= grievance contesting his

termination, Strowd had a number of discussions with Vought representatives prior to the January 29,

2009 Step 32 meeting in an effort to reach a settlement regarding the grievance. During that time

Vought continued to refuse to consider any settlement of Blanks' grievance which would reverse or

modify the discipline imposed, taking the position that Blanks had been terminated for just cause.

(Strowd Decl. &32 (doc. 61 PageID 616)).

        26. Blanks' grievance contesting his termination was initially set up for submission for a Step

32 Prearbitration Review meeting on January 29, 2009. (Strowd Decl. &33 (doc. 61 PageID 616-17)).

During that meeting, which UAW International Representative Helms was unable to attend, Grievance

Chairman Strowd and then Local 848 President Ron Cohagen again argued for Blanks to be reinstated,

or that Vought consider in the alternative some lesser form of discipline short of discharge, as Blanks

had an otherwise clean disciplinary record and was a recent hire who should be given another chance.

(Id.; Helms Decl. &12b. (doc. 61 PageID 676-77)). In response, Danielle Nucci Garrett, Vought's HR

manager, again stated that Vought was unwilling to consider any settlement of Blanks' grievance which

would reverse his discharge or otherwise modify the discipline imposed. (Id.) As it appeared no

settlement of the grievance would be reached at that meeting, Strowd, as Chairman of the Plant

Grievance Committee, and President Cohagen requested that Vought agree to hold Blanks' grievance in

abeyance to allow additional time to try and reach a settlement of his grievance, as opposed to their

having to withdraw the grievance at that time, as only the International Representative Helms could


Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 32
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                          Page 38 of 55 PageID 1355


make the decision to arbitrate. (Strowd Decl. &33 (doc. 61 PageID 616-17); Helms Decl. &12b. (doc. 61

PageID 676-77)) ).

        27. Per that request, it was agreed to hold Blanks= grievance in abeyance and the Grievance

Report dated January 29, 2009 stated that Blanks' grievance contesting his discharge was being "Placed

in abeyance." (Strowd Decl. &34, Ex5 (doc. 61 PageID 617, 653)).

        28. Thereafter, Strowd had number of further discussions with Vought labor relations

representatives in an effort the find a satisfactory resolution to Blanks' grievance. However, Vought

representatives remained adamant that Vought would not consider any settlement of Blanks' grievance,

whether that be reinstatement with or without back pay, or any other alteration to the terms of Blanks'

employment termination from Vought. (Strowd Decl. &35 (doc. 61 PageID 617)).

        29. After further efforts by Strowd to resolve Blanks' grievance with Vought by settlement

proved to be unsuccessful, Strowd again set Blanks= grievance up for consideration at the Step 32

Prearbitration Review meeting scheduled for October 28, 2009, at which meeting UAW International

Representative Helms would be in attendance. (Strowd Decl. &36 (doc. 61 PageID 617); (Helms Decl.

&11 (doc. 61 PageID 675-76)).

        30. Prior to the October 28, 2009 Step 32 meeting Strowd, Local 848 President Munoz, and

UAW International Representative Helms met so that Strowd could brief Helms and Munoz regarding

the grievances which were to be considered at that meeting, including Blank=s grievance contesting his

discharge by Vought. (Helms Decl. &12-14 (doc. 61 PageID 676-82); Strowd Decl. &37 (doc. 61 PageID

618-19); Munoz Decl. &7-8 (doc. 61 PageID 824-25)). With regard to Blanks= grievance Strowd advised

Helms and Munoz that Vought had terminated Blanks based on the charge that he had intentionally

falsified information he had provided in connection with a workers compensation claim, by stating that

he had suffered a work-related injury on 6/23/08, a day when he was not at work. (Helms Decl. &12a

(doc. 61 PageID 676)). In that briefing Strowd reviewed with Helms and Munoz what had occurred at

the prior steps of the grievance procedure, including that Blanks= grievance had been held in abeyance


Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 33
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                          Page 39 of 55 PageID 1356


after the January 29, 2009 Step 32 meeting, at which they were not present, to allow more time to reach

a settlement, as opposed to withdrawing the grievance at that time as lacking merit to arbitrate. (Helms

Decl. &12b (doc. 61 PageID 676-77); Strowd Decl. &37 (doc. 61 PageID 618-19)). Strowd also briefed

Helms and Munoz regarding the evidence presented by Vought during the Second and Third Steps of the

grievance procedure to support its charge that Blanks had falsified information provided in connection

with his workers compensation claim by claiming a work related injury on a day he was not at work.

(Helms Decl. &12d.i and iii; Ex4 (doc. 61 PageID 677-79, 700-18); Strowd Decl. &37 (doc. 61 PageID

618-19); Munoz Decl. &8 (doc. 61 PageID 824-25)). Strowd also briefed Helms and Munoz regarding

the findings he and the Plant Grievance Committee had made from their own investigation into Blanks=

grievance, which included requesting specific records from Vought which would have shown whether

Blanks had worked on June 23rd when he claims he was injured, requesting Blanks' personnel file to

check his prior disciplinary and work record (Id.), and checking out Blanks' statement that coworker

Thomas Chick could verify that Blanks worked and was injured on the date in question. (Helms Decl.

&12d.ii. (doc. 61 PageID 678); Strowd Decl. &37 (doc. 61 PageID 618-19); Munoz Decl. &8 (doc. 61

PageID 824-25)). With regard to the findings from that investigation Strowd advised Helms and Munoz

that although Blanks= personnel file showed he had a clean disciplinary record, their investigation could

not find any evidence that Blanks was at work on June 23rd, or that he was injured on that date on any

other date. (Helms Decl. &12d.i-iii (doc. 61 PageID 677-79); Strowd Decl. &37 (doc. 61 PageID 618-

19); Munoz Decl. &8 (doc. 61 PageID 824-25)). Not only did Chick not recall seeing Blanks at work on

June 23rd or get injured, but also Blanks= supervisor and other coworkers did not see him at work on that

day, and Blanks= attendance, work, and other records did not indicate that he worked that day. (Id.)

Strowd also advised Helms and Munoz that Blanks had given inconsistent statements to Vought=s

Medical Department as to the date he was injured, first telling them that he was injured on June 21st and

later telling them that he was injured on June 23rd. (Id.)

        31. During Strowd=s meeting with Helms and Munoz to brief them prior to their Step 32


Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 34
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                          Page 40 of 55 PageID 1357


meeting with Vought he also reviewed with them the following documentation and information relied on

and submitted by Vought to support its decision to terminate Blanks (Helms Decl. &14, Ex4 (doc. 61

PageID 680-82, 700-18)):

        $ Doctor=s Form submitted by Blanks to Vought dated 6/23/08 signed by Dr. Sandy Bidner,

North Texas Orthopedic, PLLC diagnosing Blanks with degenerative lumbar disc disease and unable to

work (Helms Decl. &14, Ex4 (doc. 61 PageID 680-82, 700-18));

        $ Employer's First Report of Injury or Illness Form dated 7/3/2008 completed by Vought

Medical Dept. Nurse Lamona Von Hatten identifying 6/23/08 as the date of Blanks= injury (Helms Decl.

&14, Ex4 (doc. 61 PageID 680-82, 700-18));

        $ Email from Workers Compensation Analyst Patricia Bradshaw advising Vought Human

Resources Generalist Debra Paino that Dr. Binder's office indicated that they did not see Blanks on

6/23/08, but on July 25, 2008, and at that time he did not report a work injury, leading Vought to suspect

the 6/23/08 form from Dr. Binder was not authentic (Helms Decl. &14, Ex4 (doc. 61 PageID 680-82,

700-18));

        $ Vought work, attendance, and payroll records reflecting that Blanks requested personal or

FMLA days and did not work on 6/18, 6/19 or 6/20, but did report for work on Saturday, 6/21 and was

on the clock for 6.3 hours even though he was not scheduled to work or expected to work by

management on that date (Helms Decl. &14, Ex4 (doc. 61 PageID 680-82, 700-18));

        $ Vought records indicating that Blanks called in sick at 5:38 AM on Monday, 6/23, indicating

that he would not work that day (Helms Decl. &14, Ex4 (doc. 61 PageID 680-82, 700-18));

        $ Vought records indicating that Blanks called on 6/24 and said that he would be out about one

week (Helms Decl. &14, Ex4 (doc. 61 PageID 680-82, 700-18));

        $ Vought records indicating that Blanks called on 6/25 and requested sick time and when

advised that he did not have sick time he requested workers comp time off (Helms Decl. &14, Ex4 (doc.

61 PageID 680-82, 700-18));


Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 35
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                          Page 41 of 55 PageID 1358


        $ Vought records indicating that Blanks called on 6/26, 6/27 and 6/28 stating that he would be

off work until his release to return on 7/2 (Helms Decl. &14, Ex4 (doc. 61 PageID 680-82, 700-18));

        $ Vought records indicating that via a phone conversation on the morning of 7/3 Blanks first

reported to the Vought Medical Dept. that he was injured on the job during the hours he worked on 6/21

(Helms Decl. &14, Ex4 (doc. 61 PageID 680-82, 700-18));

        $ Vought records indicating that later in the day of 7/3, Blanks reported to the Medical Dept. that

he had made a mistake on his initial report of the work related injury, that the injury actually took place

at 6:15 AM on 6/23 (Helms Decl. &14, Ex4 (doc. 61 PageID 680-82, 700-18));

        $ Vought records indicating that witnesses did observe Blanks working on 6/21 but no-one knew

of any accident or injury involving Blanks. Vought records further indicating that no hourly or salary

personnel including Blanks= Supervisor, Emid Hill, observed him at work at all on 6/23 (Helms Decl.

&14, Ex4 (doc. 61 PageID 680-82, 700-18));

        $ Vought records indicating that Blanks made no normal transaction to substantiate his presence

at the work site on 6/23 (seven (7) standard Vought reports that record daily activities of employees

reflected no activity by Blanks) (Helms Decl. &14, Ex4 (doc. 61 PageID 680-82, 700-18)); and

        $ Information from Vought that no incident, injury accident or safety complaint was reported or

submitted by Blanks to any Vought personnel on 6/21 or 6/23 (Helms Decl. &14, Ex4 (doc. 61 PageID

680-82, 700-18)).

        32. During Strowd=s meeting with Helms and Munoz to brief them prior to their Step 32

meeting with Vought, he also discussed the information that Blanks had been recalled to Lockheed

Martin from layoff and was then working, or planned to also work there. Strowd advised them, however,

that Vought had indicated that the evidence that Blanks had made inconsistent statements about the date

he claims to have been injured and that he had called in sick and was not at work on June 23rd when he

claimed to have suffered an on the job injury at Vought, was sufficient proof in itself that he was guilty

of falsifying information in making a workers compensation claim to support his termination for just


Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 36
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                          Page 42 of 55 PageID 1359


cause. (Helms Decl. &13, Ex4 (doc. 61 PageID 680, 700-18); Strowd Decl. &37 (doc. 61 PageID 618-

19); Munoz Decl. &8 (App221)).

        33. Considering the evidence submitted and relied on by Vought to justify Blanks= termination,

Strowd advised Helms and Munoz that during the prior steps of the grievance procedure he had argued

for Blanks= reinstatement to Vought on the grounds that termination was too harsh a penalty for what

might be simply a mistake in completing the forms, and that since Blanks' disciplinary record was clean

and he was a new employee, he should be given another chance. On that basis he had asked Vought to

reinstate Blanks. Strowd advised Helms and Munoz, however, that Vought's consistent position during

the prior steps of the grievance procedure was that Blanks was guilty of providing false information on

his workers compensation claim which was just cause for his termination and Vought refused to consider

any settlement of his grievance altering his discharge. (Helms Decl. &12e. (doc. 61 PageID 679-80);

Strowd Decl. &37 (App18); Munoz Decl. &8 (doc. 61 PageID 824-25)).

        34. On October 28, 2009, Helms, Munoz, and Strowd met with Vought's Manager of Labor

Relations Danielle Nucci Garrett for the Step 32 Prearbitration Review meeting pursuant to Article V,

Section 7 of the CBA with regard to Blanks' grievance, as well as a number of other grievances which

were set on that date. (Helms Decl. &15 (doc. 61 PageID 682); Strowd Decl. &38 (doc. 61 PageID 619);

Munoz Decl. &9 (doc. 61 PageID 825)). With regard to Blanks' grievance, Helms, Strowd, and Munoz

again argued that discharge was too harsh a penalty in the circumstances for what might just be a mistake

in completing Blanks= workers compensation forms and in remembering which dates he had worked, that

he had no prior disciplinary or work issues, and that they felt Vought should give Blanks another chance.

(Id.). On that basis they attempted on Blanks= behalf to convince Garrett to reinstate him, if not with full

back pay, then in the alternative, to reduce his discharge to a suspension. (Id.). Garrett, as had all

previous Vought representatives during the Second and Third Steps of the grievance procedure, stated

that Vought=s position remained that Blanks= discharge was fully supported by just cause for the reasons

stated in the July 10, 2008 letter discharging him and that Vought was unwilling to amend its position


Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 37
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                          Page 43 of 55 PageID 1360


and would not agree to reinstate Blanks or alter in any manner the decision to terminate him. (Id.).

        35. After the October 28, 2009 Step 32 Prearbitration Review meeting with Vought, Helms,

Strowd, and Munoz met to discuss the disposition of those grievances which had been considered during

that meeting, including Blanks= grievance, as the Step 3 2 meeting is the last step of the grievance

procedure under Article V of the CBA before an unresolved grievance would either be submitted to

arbitration under Section 8 or withdrawn by Local 848 under Section 6b. (Helms Decl. &16 (doc. 61

PageID 683); Strowd Decl. &39 (doc. 61 PageID 619-21); Munoz Decl. &10 (doc. 61 PageID 825-26)).

With regard to Blanks' grievance, upon further discussion between Helms, Strowd and Munoz, Helms

decided, as the UAW International Representative responsible for deciding whether to arbitrate a

grievance under Article V, Section 7a of the CBA, that it would be fruitless to submit Blanks' grievance

to arbitration, as Helms did not believe based on the evidence from Local 848's investigation of the

grievance that an arbitrator would sustain Blanks= grievance. (Helms Decl. &16, 21 (doc. 61 PageID

683, 685-86)). Helms= decision not to submit Blanks= grievance to arbitration, in which decision both

Strowd and Munoz concurred, was based his conclusion that Vought had presented substantial evidence,

which Local 848's investigation had found no evidence to controvert, that Blanks had deliberately

falsified information he had provided in connection with his workers compensation claim by claiming

that he was injured on the job on a date when no Vought records or other evidence provided any support

to show that Blanks was working on that date. (Helms Decl. &16 (doc. 61 PageID 683); Strowd Decl.

&39 (doc. 61 PageID 619-21); Munoz Decl. &10 (doc. 61 PageID 825-26)). In making the decision that

Blanks' grievance did not merit taking it to arbitration Helms also considered that Blanks had made

inconsistent statements to Vought as to the date he was injured, at first telling the Vought Medical

Department that he was injured on June 21st, and then insisting they change the date to June 23rd. (Id.).

Helms also considered that Blanks had provided Local 848 with no evidence to prove that he worked on

June 23rd and suffered an injury on that date, except for Blanks' statement that co-worker Thomas Chick

could corroborate his story; however, in two conversations with Chick, Local 848 steward Wilson had


Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 38
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                          Page 44 of 55 PageID 1361


been told by Chick that he did not recall seeing Blanks at work on that date or suffering an on-the-job

injury. (Id.). Helms thus decided, based on his good faith belief that an arbitrator would not sustain

Blanks= grievance on the merits and that arbitration would be fruitless, to withdraw Blanks' grievance

from the grievance procedure and not to submit it to arbitration. (Id.).

         36. A grievance not otherwise settled at the Step 32 Prearbitration Review meeting, which is

the last step of the grievance procedure under Article V of the CBA prior to arbitration, but which Helms

as the UAW International Representative assigned to Local 848 decides lacks merit to take to arbitration,

is withdrawn pursuant to Section 6b of Article V of the CBA and treated as being settled in accordance

with that provision. (Helms Decl. &18, Ex1 (doc. 61 PageID 684-85); Strowd Decl. &12 (doc. 61

PageID 606-07).

         37. Based on Helms= decision not to submit Blanks= grievance to arbitration it was withdrawn

from the grievance procedure pursuant to Section 6b of Article V of the CBA and treated as being settled

in accordance with that provision. Accordingly, the Local 848 Grievance Report dated October 30, 2009,

which included the disposition of the grievances which were considered at the October 28, 2009 Step 32

meeting, reflects that Blanks' grievance was "Settled in accordance with Article 5, Section 6b.@ (Helms

Decl. &18, 19, Ex5 (doc. 61 PageID 684-85, 719); Strowd Decl. &12, 43, Ex7 (doc. 61 PageID 606-07,

623, 659)).

         38. Blanks was notified of Helms= decision to withdraw his grievance and not to submit it to

arbitration by certified mail from Helms dated October 30, 2009, received by Blanks on November 2,

2009, in which letter Helms advised Blanks that:

         I have discussed your grievance with your grievance Chairman. We have met and
         discussed your grievance with the Company. The Company is unwilling to amend their
         position and I do not feel an arbitrator would sustain our position. Therefore, I have
         withdrawn your grievance from the grievance procedure. Your rights as of this notice
         are set forth in the UAW Constitution.

(Helms Decl. &20, Ex6 (doc. 61 PageID 685, 722); Strowd Decl. &42, Ex6 (doc. 61 PageID 622-23,

657)).

         39. Helms= decision to not to submit Blanks= grievance to arbitration, and Munoz=s and Strowd=s

Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 39
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                          Page 45 of 55 PageID 1362


concurrence in that decision, was based solely on their assessment of the merits of the grievance and

their belief that arbitration would be fruitless. (Helms Decl. &21 (doc. 61 PageID 685-86); Strowd Decl.

&40 (doc. 61 PageID 621-22); Munoz Decl. &11 (doc. 61 PageID 826)). Other than their good faith

belief that the grievance lacked merit, and would not be sustained by an arbitrator, no other factors had

any bearing on their decision not to submit it to arbitration, including Blanks' race, or any medical

condition or disability from which he may suffer. (Id.). Nor, was the decision not to arbitrate Blanks=

grievance in retaliation for any actions by Blanks, including any attempt he may have made to file an

EEOC charge against Local 848, or any other person or entity alleging discrimination because of his

race, about which attempt or charge, if any, Helms, Strowd, and Munoz had no knowledge. (Id.).

Moreover, Blanks never filed a charge of discrimination or retaliation against Local 848 or against the

UAW International with the Texas Workforce Commission and/or the Equal Opportunity Commission

which was ever served on or received by Local 848 or by the UAW International. (Id.). The information

that Blanks may have been recalled to and was then working, or planned to also work, at Lockheed

Martin also had no bearing on the decision to withdraw Blanks= grievance and not to submit it to

arbitration. (Helms Decl. &21 (doc. 61 PageID 685-86); Strowd Decl. &40 (doc. 61 PageID 621-22)).

Even after it became known that Blanks may have been working at Lockheed, Strowd and the Plant

Grievance Committee continued to process Blanks' grievance and it was appealed through each step of

the grievance procedure up to the October 28, 2009 Step 32 meeting, the last step of the procedure prior

to arbitration. During each step of the procedure considerable efforts were made by Strowd and the Plant

Grievance Committee to investigate Blanks' grievance and to secure his reinstatement by Vought. (Id.).

Even after it became known that Blanks may have been working at Blanks Martin, when Blanks=

grievance was not settled at the January 29, 2009 Step 32 meeting, instead of withdrawing Blanks'

grievance at that time as lacking merit to arbitrate, Strowd and the Plant Grievance Committee secured

Vought=s agreement to hold his grievance in abeyance to allow more time for them to reach a settlement.

(Id.). Thereafter, only after it became evident to Strowd through further discussions with Vought that no


Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 40
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                          Page 46 of 55 PageID 1363


settlement of Blanks= grievance could be reached, did he set Blanks' grievance back up for consideration

at the October 28, 2009 Step 32 meeting, at which Helms would be in attendance. (Id.). After a

settlement of Blanks= grievance again could not be reached with Vought at that meeting, Helms made the

decision that it should be withdrawn and not submitted to arbitration based on his experience as a UAW

representative handling discharge grievances for over 24 years, the record before him with regard to the

merits of Blanks' grievance, and his good faith belief that an arbitrator would not sustain the grievance

and that, as such, the grievance lacked the merit to submit to arbitration. (Helms Decl. &21 (doc. 61

PageID 685-86)).

        40. At the time the decision was made on October 28, 2009 to withdraw Blanks' grievance and

not to submit it to arbitration Helms and Munoz had not had any prior union related dealings with

Blanks, nor did they know him or otherwise have any personal dealings with him. (Helms Decl. &22

(doc. 61 PageID 687); Munoz Decl. &4 (doc. 61 PageID 823)). Strowd=s only union related dealings with

Blanks prior to the October 28, 2009 decision to withdraw and not arbitrate his grievance all occurred

after Blanks came to the union hall on July 18, 2009 to file his grievance contesting his discharge by

Vought and were all in connection with the processing of that grievance up to the October 28, 2009 step

32 meeting, and he also had not had any prior personal dealings with Blanks. (Strowd Decl. &17, 45

(App7, 23)). The only dealings which Helms, Strowd, and Munoz have had with Blanks have been in

their respective capacities as union representatives or officers for the UAW International or Local 848 in

connection with the filing and processing of Blanks= grievance under the CBA contesting his discharge

from Vought. (Helms Decl. &22 (doc. 61 PageID 687); Munoz Decl. &4 (doc. 61 PageID 823); (Strowd

Decl. &17,45 (doc. 61 PageID 608, 624)).

        41. At the November 15, 2009 regularly scheduled membership meeting of Local 848, the

October 30, 2009 Grievance Report, which set forth the disposition of Blanks' grievance and a number of

other grievances, was presented. Blanks appeared at that meeting and requested that the decision to

withdraw his grievance be reversed and that his grievance be submitted to arbitration. (Strowd Decl.


Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 41
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                          Page 47 of 55 PageID 1364


&44 (doc. 61 PageID 623-24); Munoz Decl. &15 (doc. 61 PageID 827-28)).

        42. As Helms had advised Blanks in his October 30, 2009 letter notifying him that his grievance

as being withdrawn and would not be submitted to arbitration, Blanks= rights to appeal that decision are

set forth in the Constitution of the UAW International. Pursuant to Article 33 of the Constitution, an

appeal of Helms= decision to withdraw and not arbitrate his grievance, which decision he made in his

capacity as a UAW International Representative, is made to the UAW International Union Executive

Board, not to Local 848 or its membership. (Helms Decl. &23, Ex 7 (doc. 61 PageID 687, 724-34);

Munoz Decl. &13 (doc. 61 PageID 827); (Strowd Decl. &44 (doc. 61 PageID 623-24)).

        43. After Helms= decision to withdraw Blanks' grievance, Blanks sent a series of letters to Helms

and to various other representatives of Local 848 and UAW Region 5 objecting to the withdrawal of his

grievance and seeking to appeal that decision. Blanks sent a letter to Local 848 Recording Secretary

Gary Tessmar attempting to appeal that decision, to which Tessmar responded by correspondence

advising Blanks that his attempt to appeal to the Local 848 Executive Board was not in compliance with

Article 33 of the UAW Constitution. (Helms Decl. &24, Ex8 (doc. 61 PageID 687, 735-54); Munoz

Decl. &13 (doc. 61 PageID 827)).

        44. Thereafter, by correspondence dated November 27, 2009, Blanks subsequently properly

perfected an appeal pursuant to Article 33 of the UAW Constitution to the UAW International Executive

Board contesting Helms= decision to withdraw his grievance. (Helms Decl. &24, Ex8 (doc. 61 PageID

687, 735-54); Munoz Decl. &13 (doc. 61 PageID 827)).

        45. Upon submission of Blanks= appeal to the UAW International Executive Board of Helms=

decision to withdraw Blanks= grievance, UAW International President Gettelfinger, by Inter-Office

Communication dated December 11, 2009, forwarded Blanks' appeal to Jim Wells, UAW Region 5

Director with the request that he submit a response to Blanks= appeal to the UAW International. In turn,

on December 23, 2009, Director Wells forwarded to Helms by facsimile transmission a copy of

President Gettelfinger's Inter-Office Communication of December 11, 2009 with the request that Helms


Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 42
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                          Page 48 of 55 PageID 1365


prepare a response to Blanks= appeal. (Helms Decl. &25, Ex8 (doc. 61 PageID 688, 735-542)).

        46. By Inter-Office Communication dated May 21, 2010, Helms forwarded to UAW

International President Gettelfinger a response to Blanks' appeal (Helms Decl. &27, Ex10 (doc. 61

PageID 689-90, 761-805) of his decision to withdraw his grievance, to which response he attached,

among other documents, copies of documents requested by Local 848 from Vought which were relied on

by Helms in making his decision to withdraw Blanks' grievance (Id.), and in which he set forth his

response to the allegations contained in Blanks' November 27, 2009 appeal as follows:

        Mr. Blanks' grievance was processed through the Grievance Procedure up to the
        International Representative. I conducted a pre-arbitration (commonly referred to as 3 2
        step) review of Grievance # 08-0446, Andre Blanks - Termination on Wednesday,
        October 28, 2009 and based upon the merits thereof, withdrew same.

        Mr. Blanks received full representation and due process from both Local 848 and the
        International Union based solely upon the merits of his case.

        On November 15, 2009, Local 848 conducted its regular monthly membership meeting
        (there was no such "hearing"), where the Vought Unit Chairman distributed the unit
        Grievance Report, stating Grievance # 08-0446, Andre Blanks - settled in accordance
        with Article 5, Section 6B (attached language). This reference means that the grievance
        was withdrawn per the language of the C.B.A.

        The Union could not sustain the grievant's (A. Blanks) claims that he was covered by
        physician excuse, due to conflicting dates that the grievant reported to the Company
        "call-in" line, the Company Medical Department, and Worker's Compensation
        documents. Further, the Company's time records reveal that A. Blanks did not clock-in /
        report to work on June 23, 2008. Blanks did report to the "call-in" line at 5:38 a.m. for
        sick time. The Company refused the Union's attempts to get A. Blanks reinstated.
        Based upon the insurmountable discrepancies of the merits of this case, therefore I
        withdrew Grievance # 08-0446. [Id.].

        47. In accordance with Article 33 Section 3(d) of the UAW International Constitution, Blanks'

appeal of the decision to withdraw his grievance was processed to the UAW International Executive

Board for consideration and determination. On June 28, 2010 the UAW International Executive Board

denied Blanks' appeal (Helms Decl. &28, Ex11 (doc. 61 PageID 690, 806-820)) concluding as follows:

        We find that although the merits of the grievance were lacking, the Region 5
        Representative made a reasonable effort to prevail on the Appellant's behalf. He met his
        duty of fair representation. Further, we find that Representative Helms' decision to
        withdraw grievance #08-0446 was grounded in a sound, rational basis and was not
        mishandled as a result of fraud, discrimination, or collusion with management. [Id.]

Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 43
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                                Page 49 of 55 PageID 1366



         48. By correspondence from then UAW International President Bob King, dated June 28, 2010

to Blanks, President King forwarded to Blanks the decision of the International Executive Board denying

his appeal. (Helms Decl. &29, Ex11 (doc. 61 PageID 690, 806-820)).

         B.       Blanks is unable to establish any undisputed material facts that would support his
                  alleged claims.

         The foregoing undisputed material facts establish that Defendants not only met, but exceeded,

the duties owed to Plaintiff under the CBA and as his collective bargaining agent in the processing and

disposition of his grievance contesting his termination by Vought. (UMF 16 &7-39). The decision to

withdraw Plaintiff=s grievance and not to submit it to arbitration was made only after the grievance had

been processed through to the final step of the contractual procedure immediately prior to arbitration,

after considerable efforts had been made to settle his grievance without success, and after a thorough

investigation from which the reasonable conclusion was reached that on the merits an arbitrator would

not sustain the grievance and that arbitration would be fruitless. (UMF &35, 39).

         The decision to withdraw and not to arbitrate Plaintiff=s grievance, which was actually made by

UAW International Representative Helms, but was concurred in by Local 848 President Munoz and

Grievance Chairman Strowd, was based solely on the merits of Plaintiff=s grievance as known to Helms

at that time given the results of the union’s investigation into the grievance. (Id.). The investigation by

the Plant Grievance Committee revealed that Vought had substantial and compelling evidence to back up

its charge that Blanks had in fact deliberately falsified information that he provided in connection with

his workers compensation claim by claiming to have been injured on 6/23/08, a day when there was no

evidence that he had reported to work and that there was no evidence that Blanks had been injured at

work on that date, or on any other date. (UMF &14-16,19). Blanks had no absolute right to have his

grievance arbitrated regardless of its merits. And Helms= decision to withdraw Blanks= grievance prior to

arbitration was based on his sound, reasoned conclusion, which he arrived at after a careful review and



16 Defendants will refer to the undisputed material facts set forth in section III.A above by reference to “UMF” followed by

Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 44
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                                 Page 50 of 55 PageID 1367


consideration of the evidence from the Plant Grievance Committee=s investigation, that an arbitrator

would not sustain the grievance on its merits. (UMF &35, 39). Helms= decision was made in good faith

and was certainly not arbitrary, discriminatory or made in bad faith, as that test for breach of the DFR

has been articulated by the courts in the cases discussed in above. The following review of the

undisputed facts makes that clear:

         After Blanks was terminated by Vought on July 10, 2008, he came to the Local 848 union hall on

Friday, July 18, 2008 and requested that a grievance be filed contesting his termination. (UMF &7). To

rebut Vought=s charge that he had falsely claimed to have been injured on 6/23/08 when Vought stated he

had not reported to work, he told Local 848 representatives Strowd, Shedrick and Wilson that he in fact

had worked and was injured on 6/23/08 and that coworker Thomas Chick witnessed his injury and could

also attest to the fact that he was at work on that date. 17 (UMF &8). On that same date, as Blanks had

requested, Grievance Committeeman Shedrick, who represented the area of the Vought plant where

Blanks worked, prepared a grievance contending that Blanks had been unjustly discharged under the

CBA and filed it with Vought the following Monday, July 21, 2008, at the Second Step of the CBA=s

grievance procedure, which is where grievances challenging disciplinary actions are initially filed under

the CBA. (UMF &7, 10, 11).

         Based on Blanks= claim that he did work and get injured on 6/23/08 and that coworker Chick

could support that claim, to investigate the grievance it was logical that Local 848 representatives would

first ask Chick if he could support Blanks= story (UMF &9) and also that they would focus their


the specific paragraph number(s).
 17
     Blanks never stated to Strowd, Shedrick, Wilson, or to any other Local 848 representative, at that time or thereafter,
 that he had actually been injured on Saturday, June 21, 2008, a date Vought's July 10, 2008 termination letter stated that
 he did work, although not scheduled as he now contends; rather, Blanks consistently told them that he worked and was
 injured on Monday, 6/23/08. (UMF &8). Indeed, in the Complaint Blanks specifically alleges that his alleged injury
 occurred at work on June 23rd and was witnessed by Chick: APlaintiff injury was witnessed by Mr. Thomas Chick, during
 the month of June approximately 23rd 2008" and A. . . during the month of June 2008 Blanks while in the performance
 of his job at Vought maintained two distinctly different injuries 1) to the eye, and 2) to the other to the lower back (both
 while working on the Pratt & Whitney Engine) its further recorded the latest incident occurred June 2008, on a Monday
 in which he worked from 6:00 am until about 7:00 . . .@ [emphasis added][Complaint, p. 3]. June 23, 2008 was a
 Monday. Blanks= attempt to now claim he was injured on June 21 st is just another example of Blanks changing his story
 and making inconsistent statements, this time more than three years after the fact.


Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 45
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                          Page 51 of 55 PageID 1368


investigation on searching for evidence that he in fact worked and was injured on June 23rd, which

investigation would include a request that Vought provide them with the type of company records which

would reveal the normal daily transactions which necessarily would have been recorded if Blanks had

reported to work on that date. (UMF &13-14). They did that, and also requested that Vought provide a

copy of Blanks= personnel file so they could assess his disciplinary record, as it relates to whether

discharge was too harsh a punishment considering his past disciplinary record. (Id.)

        At the request of Grievance Chairman Strowd, union steward Wilson telephoned Chick from

Strowd=s office and was told by Chick that he did not recall Blanks being at work or get injured on June

23rd. (UMF &9). Upon Strowd=s further request, when Wilson then went to speak with Chick personally,

he was again told by Chick that he could not support Blanks= story that he worked on June 23rd or was

injured on the job on that date, or on any other date. (Id.).

        As had been requested by Local 848 representatives, Vought also provided them with the records

which would reveal whether Blanks had reported for work on June 23rd and with a copy of his personnel

file. (UMF &15). While Blanks= personnel file did not show any prior discipline, the employee

attendance and transaction records provided by Vought failed to reveal that Blanks had engaged in any of

the normal daily employee transactions that would substantiate his presence at work on June 23rd. (UMF

&16, 18, 19).

        Upon Vought=s denial on July 23, 2008 of Blanks= grievance at the Second Step of the grievance

procedure, Blanks= grievance was immediately appealed on July 24, 2008 to the Third Step by Grievance

Committeeman Shedrick. (UMF &12). Pursuant to the terms of the CBA, Blanks= grievance, along with

others, was then considered at a Third Step meeting between the union and the company on August 15,

2008. (UMF &17). At that meeting Vought again reviewed the records showing that Blanks had not been

at work on June 23rd when he claimed to have been injured, stated that Blanks had given inconsistent

statements as to the date he was injured, and also presented a slide show summarizing the documentation

Vought relied on to justify Blanks= termination. (UMF &19). Grievance Chairman Strowd and the Plant


Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 46
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                          Page 52 of 55 PageID 1369


Grievance Committee argued that the documents only failed to show that Blanks was present at work on

June 23rd, but did not prove that he was not at work and injured. (UMF &18). They also argued that since

Blanks had no prior discipline, in the circumstances, discharge was too harsh a penalty. (Id.). Despite

these efforts on Blanks= behalf, on September 2, 2008 Vought again denied Blanks= grievance at the

Third Step stating that he had been discharged for just cause. (UMF &20).

        Thereafter, the Plant Grievance Committee voted to appeal Blanks= grievance and, accordingly,

on January 20, 2009, Grievance Chairman Strowd appealed Blanks= grievance to the Prearbitration

Review Step, commonly called Step 32, so that it could be considered at the next quarterly Step 32

meeting scheduled for January 29, 2009. (UMF &21). The CBA specifies that a Step 32 meeting be

attended by the Grievance Chairman, the Local 848 President and a UAW International Representative,

the latter of whom is ultimately responsible for deciding whether to arbitrate a grievance. (UMF &22).

At the January 29, 2009 meeting International Representative Helms could not attend, so when Vought

again refused any settlement of Blanks= grievance, instead of withdrawing it at that time Strowd secured

Vought=s agreement to hold Blanks= grievance in abeyance to allow him more time to reach a settlement.

(UMF &26-27). During the ensuing months Strowd had a number of discussions with Vought labor

relations representatives in an effort to settle Blanks= grievance, but without success. (UMF &28). After

it became apparent that no settlement of Blanks= grievance could be reached with Vought, Strowd again

set Blanks= grievance back up to be considered at the quarterly Step 32 meeting scheduled for October

28, 2009, when International Representative Helms would be in attendance. (UMF &29).

        Prior to the October 28, 2009 Step 32 meeting with Vought, Helms and Local 848 President

Munoz were fully briefed by Strowd regarding the findings from the investigation of Blanks= grievance

during the previous steps of the grievance procedure. (UMF &30-33). During the October 28th Step 32

meeting with Vought, Helms, Strowd and Munoz again argued for Blanks= reinstatement or reduction of

his termination to a suspension; however, Vought continued to refuse to alter its position or agree to any

settlement. (UMF &34).


Memorandum Brief in Support of Response to Plaintiff’s (Motion for) Summary Judgment (doc.69) – Page 47
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                       Page 53 of 55 PageID 1370


        Helms, Strowd and Munoz had been advocates in favor of Blanks= grievance during each step of

the procedure up through the October 28, 2009 Step 32 Prearbitration Review meeting; however,

Blanks= grievance having reached the last step of the CBA=s grievance procedure before submission to

arbitration, it then fell to Helms, as the UAW International Representative assigned to Local 848, to

make the decision whether Blanks= grievance merited submission to arbitration. (UMF &35). After

carefully reviewing the facts from Strowd=s and the Plant Grievance Committee=s investigation, Helms

reasonably concluded that there was substantial and compelling evidence to support Vought=s charge that

Blanks was guilty of falsifying information he provided in connection with his workers compensation

claim, and that, as such, an arbitrator would not sustain the grievance and that arbitration would be

fruitless. (UMF &35, 39). Helms therefore made the decision to withdraw Blanks= grievance from the

procedure and so advised Blanks by letter dated October 30, 2009. (UMF &37, 38). Helms made that

decision in good faith, based solely on the merits of the grievance, and without regard to any other

factors, including Blanks= race, any attempt he may have made to file an EEOC charge, of which Helms,

Strowd or Munoz had no knowledge, or other such impermissible factors. (UMF &39).

        There is simply no evidence to support a finding that any of the Defendants (Local 848 as an

institution; UAW International Representative Helms; Local 848 President Munoz; or Local 848

Grievance Chairman Strowd) acted with anything other than "complete good faith and honesty of

purpose," Ford, 345 U.S. at 338, in the processing of and eventual decision not to arbitrate Blanks=

grievance. Their actions in that regard were certainly well within the Awide range of reasonableness@

afforded a union in the representation of those in the bargaining unit, such that their actions cannot be

considered irrational, illogical, or egregious in breach of the duty. Id.; O'Neill, 499 U.S. at 67. AIn the

interest of effectively administering the machinery of grievance arbitration [in making the decision

whether to arbitrate Blanks= grievance Helms was] allowed a wide range of discretion in screening out,

settling, or abandoning [the] grievance[] before arbitration if [he] believe[d] in good faith that [the]

grievance d[id] not justify proceeding through the >costly and time-consuming final step= of arbitration.@

McCall, 661 F.Supp.2d at 655, citing Vaca, 386 U.S. at 190-91). Considering the evidence marshaled by
 DEFENDANTS= MEMORANDUM BRIEF IN SUPPORT OF MOTION TO DISMISS AND/OR FOR SUMMARY JUDGMENT                  Page 48
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                       Page 54 of 55 PageID 1371


Vought in support of the charge that Blanks had falsified his workers compensation claim, and the facts

revealed by Local 848's investigation, Helms= exercise of that wide discretion to withdraw and not

submit Blanks= grievance to arbitration was not a breach of the duty.

        Indeed Helms= decision not to arbitrate Blanks= grievance was a sound, reasoned exercise of that

discretion and thus was not in breach of the DFR. Applying the test for finding a breach of the duty, it

was certainly not Aarbitrary@ since Ain light of the factual and legal landscape at the time [the decision

was made it was not] so far outside a wide range of reasonableness as to be irrational." O'Neill, 499 U.S.

at 67. Nor was the decision Adiscriminatory@ as there is no evidence that Blanks= grievance was handled

differently than any others; moreover, only discriminatory conduct which is Ainvidious@ is considered to

be a breach of the duty. The Defendants= conduct here was neither discriminatory or invidious. O'Neill,

499 U.S. at 81; McCall, 661 F.Supp.2d at 654. Finally, the decision cannot be considered to have been

made in Abad faith.@ The Fifth Circuit has described the Abad faith@ prong of the test to be a "demanding

standard" requiring proof of conduct that is "sufficiently egregious" or so "intentionally misleading" as

to be "invidious," or have the purpose of intentionally harming member(s). O'Neill v. ALPA, 939 F.2d at

1203-04. To the contrary, Helms, Strowd, Munoz and all other representatives of Local 848 acted in

good faith with respect to the processing and disposition of Blanks= grievance. Thus, as a matter of law

and fact, Blanks is not entitled to judgment for breach of the DFR against any Defendant and his Motion

should be denied.

                                              CONCLUSION

        As demonstrated herein, the summary judgment evidence in this case “supports no[ ] choice”

between Defendants’ position and Blanks’ position because Defendants’ proof is so overwhelming that

Defendants, not Blanks, would be entitled to a directed verdict at trial under Boeing v. Shipman, 411F.2d

365 (5th Cir.1969) (en banc) on all of Blanks’ alleged claims. Neely, 817 F.2d at 1225. Therefore,

Plaintiff’s (Motion for) Summary Judgment must be denied in its entirety.




 DEFENDANTS= MEMORANDUM BRIEF IN SUPPORT OF MOTION TO DISMISS AND/OR FOR SUMMARY JUDGMENT              Page 49
  Case 4:10-cv-00297-Y Document 85 Filed 06/21/11                         Page 55 of 55 PageID 1372




                                                   Respectfully Submitted,

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DATED: June 21, 2011                               ROMEO MUNOZ


                                      CERTIFICATE OF SERVICE

         I hereby certify that on the 21st day of June, 2011 I electronically filed the forgoing document
with the clerk of court for the U.S. District Court, Northern District of Texas, using the electronic case
filing system of the court. The electronic case filing system sent a ANotice of Electronic Filing@ to the
below listed pro se party by electronic means.

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 DEFENDANTS= MEMORANDUM BRIEF IN SUPPORT OF RESPONSE TO PLAINTIFF’S (MOTION FOR) SUMMARY JUDGMENT     Page 50
